       Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 1 of 65




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


BERKLEY INSURANCE, CO., et al.,

              Plaintiffs,

       v.                                         Case No. 1:13-cv-1053 (RCL)

FEDERAL       HOUSING           FINANCE
AGENCY, et al.,

              Defendants.


In re Fannie Mae/Freddie Mac Senior
Preferred Stock Purchase Agreement Class
Action Litigations
__________________
                                                  Case No. 1:13-mc-1288 (RCL)
This document relates to:
ALL CASES


                  PLAINTIFFS’ OPPOSITION TO DEFENDANTS’
                 MOTION FOR JUDGMENT AS A MATTER OF LAW
           Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 2 of 65




                                                   TABLE OF CONTENTS

PRELIMINARY STATEMENT .................................................................................................... 1

BACKGROUND ............................................................................................................................ 1

                     A.         The Enterprises and their Private Shareholders .......................................... 1

                     B.         The 2008 Recession, The Creation Of The FHFA, And The
                                Conservatorship .......................................................................................... 2

                     C.         The Senior Preferred Stock Purchase Agreements ..................................... 3

                     D.         The Market Recovery And The GSEs’ Return To Sustained
                                Profitability ................................................................................................. 4

                     E.         The Third Amendment And Its Net Worth Sweep ..................................... 5

                     F.         Procedural History ...................................................................................... 8

                                1.         Plaintiffs Successfully Appealed This Court’s Dismissal Of
                                           The Action To The District Of Columbia Circuit. .......................... 8

                                2.         On Remand, This Court Upheld Plaintiffs’ Breach Of The
                                           Implied Covenant Claim ................................................................. 9

                                3.         This Court Certified Classes Of Current Holders And
                                           Plaintiffs Issued Notice To Potential Class Members................... 10

                                4.         The Summary Judgment Order ..................................................... 11

                                5.         The Trials ...................................................................................... 11

LEGAL STANDARD................................................................................................................... 12

ARGUMENT ................................................................................................................................ 13

          I.         THE DEFENDANTS’ ARGUMENTS ARE FORECLOSED BY THE
                     LAW-OF-THE-CASE DOCTRINE. .................................................................... 13

          II.        THE COURT SHOULD REJECT DEFENDANTS’ MOTION FOR
                     JUDGMENT AS A MATTER OF LAW FOR ALL PLAINTIFFS..................... 15

                     A.         The Court Has Twice Correctly Rejected That The HERA “Best
                                Interests” Provision Left “No Gap” For The Implied Covenant To
                                Fill. ............................................................................................................ 15

                     B.         As This Court Has Already Correctly Ruled, Collins Does Not
                                Foreclose Plaintiffs’ Implied Covenant Claim. ......................................... 19


                                                                        i
 Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 3 of 65




                 1.         The Jury In This Case Addressed A Question Not Presented
                            In Collins....................................................................................... 19

                 2.         Because It Addressed A Different Question, The Jury
                            Considered Evidence Not Considered In Collins. ........................ 21

       C.        The Court Correctly Concluded That Plaintiffs’ Implied Covenant
                 Claim Is Not A Claim For Anticipatory Breach. ...................................... 27

       D.        Plaintiffs Proved With Reasonable Certainty That The Third
                 Amendment’s Net Worth Sweep Caused Them Harm. ............................. 29

                 1.         A Reasonable Jury Could Find From The Evidence That The
                            Net Worth Sweep Has Harmed Current Shareholders. ................. 30

                 2.         A Reasonable Jury Could Find That Share Price Increases
                            After The Third Amendment Are Irrelevant And In No Way
                            Mitigate The Harm Caused By The Net Worth Sweep. ............... 31

                 3.         A Reasonable Jury Could Find That The One-Day Decline
                            In Share Prices On August 17, 2012 Was Caused Solely By
                            The Net Worth Sweep. .................................................................. 35

III.   THE COURT SHOULD REJECT DEFENDANTS’ EFFORT TO OBTAIN
       JUDGMENT AS A MATTER OF LAW AGAINST POST-THIRD
       AMENDMENT PURCHASERS AS JUST ANOTHER MERITLESS
       ATTEMPT TO ATTACK THE DEFINITION OF THE CERTIFIED
       CLASSES. ............................................................................................................ 40

       A.        The Court Has Repeatedly And Correctly Rejected Defendants’
                 Efforts To Attack The Definition Of The Certified Classes To
                 Which They Stipulated. ............................................................................ 40

       B.        Defendants’ Challenge to the Class Definition Is Not a Proper
                 Standing Argument or Basis for a Rule 50(b) Motion. ............................. 43

       C.        Plaintiffs’ Implied Covenant Claims Against Fannie Mae Travel
                 With The Shares Under Delaware Law. ................................................... 44

       D.        Plaintiffs’ Implied Covenant Claims Against Freddie Mac Travel
                 With The Shares Under Virginia Law. ..................................................... 47

       E.        Defendants Invoke Inapposite Case Law That Merely Shows That
                 Personal Claims Are Not Automatically Assigned, Which Thus
                 Does Nothing To Undermine This Court’s Prior Rulings. ....................... 49

       F.        Defendants Have Waived The Right To Challenge The Class
                 Definitions, And Are Also Estopped From Doing So. ............................. 52


                                                       ii
Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 4 of 65




           1.   Defendants Agreed To The Class Definitions. ............................. 52

           2.   It Would Be Unfairly Prejudicial To Allow Defendants To
                Challenge The Classes At This Late Stage. .................................. 54




                                    iii
           Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 5 of 65




                                              TABLE OF AUTHORITIES

                                                                                                                            Page(s)

Cases

Abella v. Universal Leaf Tobacco Co. Inc.,
   546 F. Supp. 495 (E.D. Va. 1982 .............................................................................................48

Acticon AG v. China N. E. Petroleum Holdings Ltd.,
    692 F.3d 34 (2d Cir. 2012).......................................................................................................34

In re Activision Blizzard, Inc. S’holder Litig.,
    124 A.3d 1025 (Del. Ch. 2015)........................................................................................ passim

Allen v. Yellen,
    2023 WL 3933723 (D.D.C. June 9, 2023) ...............................................................................13

In re Allergan PLC Securities Litigation,
    2021 WL 4077942 (S.D.N.Y. Sept. 8, 2021) ...........................................................................38

In re AMC Ent. Holdings, Inc. Stockholder Litig.,
    299 A.3d 501 (Del. Ch. 2023 ...................................................................................................45

Anderson v. Group Hospitalization, Inc.,
   820 F.2d 465 (D.C. Cir. 1987) .................................................................................................12

Baker v. SeaWorld Ent., Inc.,
   423 F. Supp. 3d 878 (S.D. Cal. 2019) ......................................................................................40

Bay Ctr. Apartments Owner, LLC v. Emery Bay PKI, LLC,
   2009 WL 1124451 (Del. Ch. Apr. 20, 2009) ...........................................................................18

Boelter v. Hearst Commc’ns, Inc.,
   192 F. Supp. 3d 427 (S.D.N.Y. 2016)......................................................................................54

Breeden v. Novartis Pharms. Corp.,
   646 F.3d 43 (D.C. Cir. 2011) ...................................................................................................12

Cheatham IRA v. Huntington Nat’l Bank,
   157 Ohio St.3d 358 (2019) ......................................................................................................51

Cheatham IRA v. Huntington National Bank,
   137 N.E.3d 45 (Ohio 2019) .....................................................................................................51

Collins v. Yellen,
   141 S. Ct. 1761 (2021) ..................................................................................................... passim




                                                                  iv
           Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 6 of 65




Colon v. Bumble, Inc.,
   305 A.3d 352 (Del. Ch. 2023)..................................................................................................45

Day v. MCC Acquisition, LC,
   299 Va. 199 (Va. 2020)............................................................................................................48

Desert Equities, Inc. v. Morgan Stanley Leveraged Equity Fund, II, L.P.,
   624 A.2d 1199 (Del. 1993) ......................................................................................................18

DNAML Pty Limited v Apple Inc.,
  2015 WL 9077075 (S.D.N.Y. Dec. 16, 2015) .........................................................................49

Dura Pharms., Inc. v. Broudo,
   544 U.S. 336 (2005) ...........................................................................................................34, 35

Fairholme Funds, Inc. v. Fed. Hous. Fin. Agency,
   2018 WL 4681097 (D.D.C. Sept. 28, 2018) .................................................................... passim

Fairholme Funds, Inc. v. Fed. Hous. Fin. Agency,
   2022 WL 4745970 (D.D.C. Oct. 3, 2022) ....................................................................... passim

FEC v. Cruz,
  596 U.S. 289 (2022) .................................................................................................................43

Freeman v. Giuliani,
   2023 WL 8472723 (D.D.C. Dec. 7, 2023) .........................................................................14, 43

Gerber v. Enter. Prod. Holdings, LLC,
   67 A.3d 400 (Del. 2013), overruled in part on other grounds by Winshall v.
   Viacom Int’l, Inc., 76 A.3d 808 (Del. 2013) ............................................................................18

Goldman Sachs Group, Inc. v. Arkansas Teacher Retirement System,
   594 U.S. 113 (2021) .................................................................................................................35

Halifax Fund, L.P. v. Response USA, Inc.,
   1997 WL 33173241 (Del. Ch. May 13, 1997) .........................................................................45

In re Harman Int’l Indus., Inc. Sec. Litig.,
    791 F.3d 90 (D.C. Cir. 2015) .............................................................................................34, 38

Heritage Handoff Holdings, LLC v. Fontanella,
   2018 WL 3580287 (D. Del. July 25, 2018) .............................................................................17

Herr v. United States Forest Service,
   803 F.3d 809 (6th Cir. 2015) ...................................................................................................52

I.A.T.S.E. Local No. One Pension Fund v. Gen. Elec. Co.,
    2016 WL 7100493 (Del. Ch., Dec. 6, 2016) ................................................................16, 45, 50



                                                                    v
            Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 7 of 65




In re Immucor, Inc. Sec. Litig.,
    2011 WL 3844221 (N.D. Ga. Aug. 29, 2011) .........................................................................34

In Def. of Animals v. United States Dep’t of Agric.,
    589 F. Supp. 2d 41 (D.D.C. 2008) ...........................................................................................54

Independent Investor Protective League v. Saunders,
   64 F.R.D. 564 (E.D. Pa. 1974) .................................................................................................46

Keepseagle v. Perdue,
   856 F.3d 1039 (D.C. Cir. 2017) ...............................................................................................53

Konstantinidis v. Chen,
   626 F.2d 933 (D.C. Cir. 1980) .................................................................................................54

Malin v. XL Capital Ltd.,
   2005 WL 2146089 (D. Conn. 2005) ........................................................................................34

Martin v. Howard Univ.,
  2006 WL 2850656 (D.D.C. Oct. 4, 2006), aff’d, 275 F. App’x 2 (D.C. Cir.
  2008) ..................................................................................................................................14, 44

McRitchie v. Zuckerberg,
  2024 WL 1874060 (Del. Ch. Apr. 30, 2024) ...........................................................................45

Metrocare v. Wash. Metro. Area Transit Auth.,
   679 F.2d 922 (D.C. Cir. 1982) .................................................................................................12

Missouri Dep’t of Social Servs. v. United States Dep’t of Health & Human Servs.,
   2019 WL 4709685 (D.D.C. Sept. 26, 2019) ............................................................................53

New Hampshire v. Maine,
   532 U.S. 742 (2001) .................................................................................................................54

Pacific Life Ins. Co. v. BNY Mellon,
   2022 WL 1446552 (S.D.N.Y. Feb. 22, 2022) ..........................................................................48

Pagliara v. Federal Home Loan Mort. Corp.,
   203 F. Supp. 3d 678 (E.D. Va. 2016) ......................................................................................48

Parker v. District of Columbia,
   478 F.3d 370 (D.C. Cir. 2007) .................................................................................................43

Perry Cap. LLC v. Lew,
   70 F. Supp. 3d 208 (D.D.C. 2014) .............................................................................................8

Perry Cap. LLC v. Mnuchin,
   864 F.3d 591 (D.C. Cir. 2017) ......................................................................................... passim



                                                                      vi
           Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 8 of 65




Policemen’s Annuity and Benefit Fund of Chicago v. DV Realty Advisors LLC,
   2012 WL 3548206 (Del. Ch. Aug. 16, 2012) ..........................................................................17

In re Prodigy Comm. Corp. Shareholders Litig.,
    2002 WL 1767543 (Del. Ch. July 26, 2002)............................................................................45

In re Prodigy Commc’ns Corp. S’holders Litig.,
    2022 WL 1767543 (Del. Ch. July 26, 2002)............................................................................47

Radtke v. Lifecare Mgmt. Partners,
   795 F.3d 159 (D.C. Cir. 2015) .................................................................................................12

In re Resorts Int’l S’holders Litig.,
    1988 WL 92749 .......................................................................................................................47

Ross v. Walton,
   668 F. Supp. 2d 32 (D.D.C. 2009) .....................................................................................33, 34

Scott v. District of Columbia,
   101 F.3d 748 (D.C. Cir. 1996) .................................................................................................13

SEC v. Jacoby,
   2022 WL 982542 (D. Md. Mar. 30, 2022)...............................................................................40

SEC v. Ustian,
   2020 WL 416289 (N.D. Ill. Jan. 26, 2020) ..............................................................................40

Shareholder Representative Services LLC v. Medidata Solutions, Inc,
   2020 WL 972618 (D. Del. Feb. 24, 2020) .........................................................................16, 17

Sherley v. Sebelius,
   689 F.3d 776 (D.C. Cir. 2012) .................................................................................................13

Stella v. Boodoo,
    21 F.3d 1157 (D.C. Cir. 1994) .................................................................................................12

Tesla Securities Litigation,
   2022 WL 7374936 (N.D. Cal. Oct. 13, 2022)....................................................................38, 39

U.S. Inspect Inc. v. McGreevy,
   2000 WL 33232337 (Va. Cir. Ct. Nov. 27, 2000) ...................................................................48

Urdan v. WR Cap. Partners, LLC,
   244 A.3d 668 (Del. 2020) ................................................................................................ passim

W. Palm Beach Firefighters’ Pension Fund v. Moelis & Co.,
   2024 WL 747180 (Del. Ch. Feb. 23, 2024) .............................................................................45




                                                                   vii
            Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 9 of 65




W.G. Cornell Co. of Washington, D. C. v. Ceramic Coating Co.,
   626 F.2d 990 (D.C. Cir. 1980) .................................................................................................33

Walker v. England,
   590 F. Supp. 2d 113 (D.D.C. 2008) .........................................................................................54

West Palm Beach Firefighters’ Pension Fund v. Moelis & Co.,
   310 A.3d 985 (Del. Ch. 2024)..................................................................................................45

Wilmington Leasing v. Parrish Leasing Co., L.P.,
   1996 WL 560190 (Del. Ch. Sept. 25, 1996) ......................................................................17, 18

Wye Oak Tech., Inc. v. Republic of Iraq,
  24 F.4th 686 (D.C. Cir. 2022) ..................................................................................................13

Statutes

Delaware Code Title 6 Section 8-302(a) .................................................................................44, 47

12 U.S.C § 1719(g)(1)(C)(iii), (v) ...................................................................................................2

12 U.S.C. § 1723(b), § 1452(a)(2)(A) .............................................................................................1

12 U.S.C. § 4617(b)(2)(D) ...............................................................................................................2

12 U.S.C. § 4617(b)(2)(J) ..............................................................................................................15

12 U.S.C. § 4617(f) ........................................................................................................................19

Delaware General Corporation Law ..............................................................................................51

Housing and Economic Recovery Act of 2008......................................................................2, 9, 20

Va. Code Ann. § 8.8A-302 ......................................................................................................47, 48

Other Authorities

F.R.C.P 23(b)(1) ......................................................................................................................52, 54

F.R.C.P. 23(b)(3) ...............................................................................................................41, 52, 54

F.R.C.P. 23(b)(1), (2), and (3) .................................................................................................10, 52

F.R.C.P. 23(a) and 23(b)(3) ...............................................................................................10, 52, 53

F.R.C.P. 50 ............................................................................................................................. passim




                                                                     viii
       Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 10 of 65




                                PRELIMINARY STATEMENT

       In a motion styled as one under Rule 50(b), Defendants ask the Court to overrule its 2018

decision denying their motion to dismiss the implied covenant claims, its 2021 decision certifying

Classes that include all current stockholders since the implied covenant claims run with the shares

(to which Defendants agreed), and its 2022 decision denying Defendants’ summary judgment

argument based on Collins v. Yellen, 141 S. Ct. 1761, 1778 (2021). This is not the proper stuff of

Rule 50(b) motions. The law of the case bars the relief Defendants seek, and they have made no

effort to meet the standard for overcoming the law of the case doctrine. To the contrary, their

arguments are as meritless now as when the Court correctly rejected them in the past. Indeed, they

are more meritless now: as shown below, the evidence presented at the trial in this case was more

than sufficient to allow a reasonable jury to find in favor of Plaintiffs, as they did. Defendants do

not come close to meeting the standard to obtain the highly disfavored relief of throwing out that

jury verdict. Their motion should be denied.

                                        BACKGROUND

         A.    The Enterprises and their Private Shareholders

       Fannie Mae and Freddie Mac are Government-Sponsored Enterprises (the “GSEs” or

“Companies”) chartered by the U.S. Congress to facilitate liquidity and stability in the secondary

market for home mortgages. Fairholme Funds, Inc. v. Fed. Hous. Fin. Agency, 2018 WL 4681097,

at *1 (D.D.C. Sept. 28, 2018) (“MTD Ruling”). Congress provided for both Companies to operate

as for-profit corporations financed by private investors, with equity securities privately owned by

individual and institutional investors. Id. The Companies’ stock certificates provide that each

Company’s Board of Directors decides whether and when to pay stock dividends, Ex. C at 69 (PX-

33); Ex. C at 79 (PX-0034), and federal statutes provide that the boards are elected annually by

the shareholders. 12 U.S.C. § 1723(b), § 1452(a)(2)(A). Between 1996 and 2008, private


                                                 1
       Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 11 of 65




shareholders invested over $33 billion into Fannie Mae and Freddie Mac in exchange for a series

of preferred stock issuances. Ex. C at 20 (PX-1-A); Ex. C at 21 (PX-1-C). Of that, $19.7 billion

was invested at the urging of the Companies’ government regulator during 2007 and 2008, in

response to the crisis in the housing market. Id.

         B.    The 2008 Recession, The Creation Of The FHFA, And The Conservatorship

       In July 2008, Congress passed the Housing and Economic Recovery Act of 2008 (“HERA”

or the “Recovery Act”), creating the FHFA. MTD Ruling, 2018 WL 4681097, at *2. HERA

granted the FHFA the authority to place the Companies into a conservatorship, through which

FHFA could take such actions as necessary to “preserve and conserve the assets” of the Companies

and to place them into a “sound and solvent condition.” 12 U.S.C. § 4617(b)(2)(D). HERA

expressly required the Secretary of the Treasury, in exercising any authority as to the Companies,

to take into consideration the Companies’ “plan for the orderly resumption of private market

funding or capital market access” and “[t]he need to maintain the corporation’s status as a private

shareholder-owned company.” 12 U.S.C § 1719(g)(1)(C)(iii), (v).

       On September 6, 2008, the FHFA placed the Companies into conservatorship. In a “Fact

Sheet” published the same day, the FHFA stated that “The purpose of appointing the Conservator

is to preserve and conserve the Company’s assets and property and to put the Company in a sound

and solvent condition.”    Ex. C at 27 (PX-2-C).        In numerous public presentations, FHFA

leadership, including then-Senior Deputy Director Edward DeMarco (“DeMarco”), stated that the

“Conservatorship statutes provide broad authority for a conservator to operate the institution until

it is stabilized and then returned to the shareholders.” Ex. C at 46 (PX-2-E). The objective of the

Conservatorship was to return the Companies “to normal business operations once stabilized.” Id.

Mr. DeMarco stated that the “economic interests of shareholders have not been eliminated, they

continue to exist.” Id. Likewise, the GSEs’ securities filings stated that the Companies were


                                                    2
       Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 12 of 65




required to “maintain positive net worth” throughout the Conservatorship, and that the GSEs

would “focus on returning to long-term profitability if it does not adversely affect our ability to

maintain net worth or fulfill our mission.” Ex. C at 544 (DX102); Ex. C at 548 (DX103); Ex. A

at 1977.

       C.      The Senior Preferred Stock Purchase Agreements

       Upon inception of the Conservatorship, the Companies each entered into a Senior Preferred

Stock Purchase Agreement (“PSPA”) with the U.S. Treasury. Ex. C. at 5 (JX-1). Under the

PSPAs, the Treasury Department agreed to invest in the Companies in exchange for senior

preferred stock with an initial liquidation preference of $1 billion, reflecting an initial commitment

fee, as well as warrants to acquire 79.9% of the Common Stock of the Companies at a nominal

price. Id.; Ex. C at 6 (JX-1). The Government Preferred Stock ranked senior in priority to all other

series of the Companies’ stock, and it accrued an annual dividend, paid quarterly. The annualized

amount of the dividend was as follows: if paid in cash, it was 10% of the outstanding liquidation

preference (which would equal the total amount invested by the U.S. Treasury into that company

plus the initial $1 billion value); if the Companies failed to pay the dividend in cash, then the

dividend would be paid through an increase to the liquidation preference equal to 12% times the

outstanding liquidation preference. Ex. C at 524 (DX89); id. at 533 (DX90). Any increase to the

liquidation preference caused by such a 12% dividend could be paid down by the Companies in

later periods. Ex. C. at 524 (DX89); Ex. C at 533 (DX90).

       Treasury and the FHFA amended the PSPAs on two occasions prior to August 2012,

neither of which changed the underlying dividend structure.            In the May 6, 2009 “First

Amendment,” Treasury increased the cap on its funding commitment from $100 billion to $200

billion per Company. Ex. A at 1119. In the December 24, 2009 “Second Amendment,” Treasury

removed the cap on the funding commitment until December 31, 2012, at which point it would be


                                                  3
       Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 13 of 65




reimposed based on a formula. Id. As of July 2012, Treasury predicted that the funding cap would

be approximately $275 billion—or “nearly twice the amount of net funding provided by Treasury

to date.” Ex. C at 108 (PX-210).

        D.     The Market Recovery And The GSEs’ Return To Sustained Profitability

       Shortly after placing the Companies into conservatorship in 2008, the FHFA directed the

Companies to declare large losses in the form of accounting write downs, based largely on

predictive judgments about the housing market’s future performance and the level of expected

mortgage defaults. Ex. A at 1161-1166. These accounting judgments required the Companies to

take large draws from the Treasury to maintain a positive net worth, thereby increasing their

dividend obligations owed to the Treasury. Id. at 1188-1189. However, because the losses were

caused almost entirely by accounting write downs, it was foreseeable that if the market recovered,

the Companies would enjoy historic profits. Id. at 1194-1195.

       By 2012, both the broader economy and the housing market began a period of sustained

recovery. Housing values improved, home sales increased, and the Companies’ post-crisis loans

were of higher quality with lower default rates. Ex. A at 1160-1161; Ex. C at 22, 23, 148 (PX-1-

L; PX-1-M; PX-211). In both the first and second quarter of 2012, both Companies recorded large

net profits that equaled or exceeded the dividend they owed to Treasury. Ex. C at 8, 553-554, 557,

560, 562, 566 (DX420; DX421; DX476; DX477; JX-1); Ex. A at 1157-58.

       Specific financial metrics also led to an expectation of even-greater success in the second

half of 2012 and beyond. See, e.g., Ex. A at 1176-77. For example, the GSEs’ credit loss

allowance peaked in 2011, and the Companies began releasing loan loss reserves (thus increasing

profits) in the first half of 2012. Ex. C at 432 (PX-228). The decrease in loan defaults and loan

loss reserves, coupled with an increase in the guarantee-fees (G-Fees) charged by the Companies

to private lenders, combined “to create a higher profit in 2012 and beyond.” See, e.g., Ex. A at


                                                4
       Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 14 of 65




1176-77, 1167-68. GSE executives testified that that they believed the Companies had entered a

period of “sustained profitability” prior to August 2012, such that the GSEs could cover their

dividend obligations under the PSPAs. See, e.g., Ex. A at 1181-82; Ex. C. at 390 (PX-223) (“2012

comprehensive income is expected to be sufficient to cover the dividend obligations for the full

year”); Ex. C. at 441 (PX-262) (no additional funding required through 2015 under the base-case

forecast); PX-0213 at 1 (describing 2012-18 as the “golden years of GSE earnings”); Ex. C at 94

(PX-196) (predicting “a roaring recovery”). Consistent with this testimony and documentary

evidence, and “based on the view that they were going to be profitable going forward,” the

Companies’ Boards of Directors began discussing “re-recording certain deferred tax assets that

had been written-off” (Ex. C. at 437 (PX-259)), which could lead to an increase of the GSEs’ net

worth of close to $75 billion. Ex. A at 1191-94; see also Ex. A at 999:15-18, 1004:4-6.

         E.    The Third Amendment And Its Net Worth Sweep

       On August 17, 2012, the Treasury and the FHFA executed the Third Amendment to the

PSPAs. It replaced the prior dividend rate (of 10% in cash or 12% in liquidation preference

increases) with a dividend equal to 100% of the net worth of each GSE, subject to a small reserve

that would shrink to zero by 2018. Ex. C. at 12-13 (JX-1). The FHFA and Treasury officials who

agreed to the Third Amendment at the time referred to this as the “Net Worth Sweep.”

       In 2013, the first year the Net Worth Sweep took effect, the Companies paid over $130

billion in cash dividends—which was $111.2 billion more than they would have paid under the

pre-existing 10% cash dividend.        Ex. A at 1136-38; 2022-23; 2395-96.           Mr. DeMarco

acknowledged at trial that the GSEs would have been “better off” in a stress scenario with this

additional “buffer” of $111 billion of capital on their books, rather than paid over to Treasury. Id.

at 2394-95. Yet there is not a single document from FHFA, Treasury, or the Companies expressing

surprise, regret, disappointment, or any desire to renegotiate the PSPAs in response to seeing this


                                                 5
        Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 15 of 65




dramatic and immediate negative impact of the Net Worth Sweep on the GSEs. As of the latest

information available at the time of the second trial, it was shown that the Net Worth Sweep had

caused Treasury to receive $151.2 billion more from the GSEs than it would have received under

the pre-existing 10% cash dividend. Id. at 1138-39. 1

        After FHFA and Treasury executed the Third Amendment, the GSEs recognized in their

SEC reports that, rather than helping the GSEs, the Net Worth Sweep “could have an adverse effect

on our financial results.” Ex. C. at 500 (PX-499). In particular, the GSEs acknowledged that their

inability to build and retain capital “as a result of the net worth sweep dividend . . . increases the

likelihood of draws [from the U.S. Treasury] in future periods.” Id. at 499. The GSEs also noted

that “non-cash changes in net worth”—such as the reversal of the deferred tax assets—“could

exceed the amount of available cash, which could have an adverse effect on our financial results.”

Ex. C. at 491 (PX-458). That is in fact what happened. In 2013, the GSEs were required by the

accounting rules to write up their deferred tax assets. This resulted in large non-cash increases in

net worth on the GSEs’ books that, in turn, required them to borrow from the private markets in

order to pay massive cash dividends to Treasury under the Net Worth Sweep. Ex. A at 1236-37.

        The FHFA has stated that it agreed to the Net Worth Sweep in order to avoid the risk that

the Companies would have to engage in repeated “circular draws”—drawing money from Treasury

in order to pay Treasury the 10% cash dividend. The FHFA has asserted that such draws, if taken,

could potentially cause a material erosion to the Treasury Commitment that would become capped

as of the end of 2012. But the evidence at trial showed the following:

    •   The Companies, the FHFA, and Treasury were all projecting that the Companies were
        likely to generate sufficient profits to cover the 10% dividend for the foreseeable future,

1
  In 2019, an amendment caused Treasury to receive the Net Worth Sweep through an increase in
its liquidation preference equal to each increase in net worth for each Company, rather than in
cash. Ex. C. at 4 (JX-1); Ex. A at 621-623.

                                                  6
    Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 16 of 65




    and would likely not need more than modest draws from Treasury to cover occasional
    shortfalls—if that. Ex. C at 298, 326, 446 (PX-216, PX-218, PX-269) (Benson projections
    as shown to FHFA and Treasury); Ex. C at 96, 97 (PX-210; PX-205).

•   A June 25, 2012, Treasury memorandum recorded Acting-FHFA Director DeMarco telling
    Treasury Secretary Geithner that he “no longer sees the urgency of amending the PSPAs
    this year because “the GSEs will be generating large revenues over the coming years,
    thereby enabling them to pay the 10% annual dividend well into the future…” Ex. C at 96
    (PX-205).

•   A July 9, 2012 Treasury memo that was intended to prepare Secretary Geithner to give
    testimony to Congress stated that the GSEs were likely to have about $275 billion in total
    funding available once the caps were re-imposed at the end of 2012, which would provide
    a “substantial cushion for any unexpected losses,” and that “Treasury is not expected to
    fund any operating losses at Fannie Mae and Freddie Mac after the expiration of the PSPA
    funding commitment.” Ex. C at 97 (PX-210); see also Ex. C at 430 (PX-227) (“Earnings
    will be in excess of current” dividend; “[r]ecord earnings will be driven by large credit loss
    reserve release”).

•   This same July 9, 2012 memo further recognized that “To the extent that required dividend
    payments exceed net income, FHFA, as conservator, could consider not declaring
    dividends pursuant to the certificates of designation for the preferred shares, so that draws
    on the PSPAs are not used to pay dividends, preserving as much funding as possible to
    cover any unanticipated losses at Fannie Mae and Freddie Mac.” Ex. C at 107 (PX-210).

•   Former Fannie Mae CEO Timothy Mayopoulos testified “there was still plenty of capacity
    left in the PSPA commitment” after the caps were going to be re-imposed in 2013 (Ex. B
    at 57), and the GSEs’ financial projections did not suggest “a near-term threat that Fannie
    is going to make draws so large on Treasury’s funding commitment that it would exhaust
    the available funds.” Id. at 56 (Fannie Mae’s model projected $118.3 billion in available
    funding as of 2020); see also Ex. A at 1920 (defense expert Dr. Attari testifying “there was
    very little risk that the commitment would run out, for example, in 2013 or 2014”).

•   Prior to agreeing to the Net Worth Sweep, FHFA and Treasury learned that both
    Companies were discussing the near-term likelihood of writing up the value of their
    deferred tax assets, which would add $50 billion or more to their net worth. Ex. C at 90
    (PX-147); Ex. C at 94 (PX-196); Ex. C. at 437 (PX-259).

•   While accounting and finance professionals at the Companies and at FHFA were predicting
    that the GSEs were poised to enter their “golden years of earnings” and enjoy a “roaring
    recovery,” with accounting write ups leading to historic profits, Mr. DeMarco chose not to
    consult with any of these professionals about the decision to agree to the Net Worth Sweep.
    Ex. A at 1471, 2527-31. Mr. DeMarco never asked anyone to analyze the pros and cons
    of the Net Worth Sweep, or whether the Net Worth Sweep might cause the Companies to
    pay more in dividends (as it ended up doing, dramatically). Ex. A at 2401:9-2403:23. The
    only person Mr. DeMarco consulted was his former colleague from the Treasury
    Department, Mario Ugoletti. Id. at 2268, 2289-2290, 2472-2473, 2516, 2527-2532.


                                              7
        Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 17 of 65




    •   There is not a single FHFA memo analyzing the decision to agree to the Net Worth Sweep.
        Id. at 2401-2403 (noting that that there were no memos, email analysis, internal meetings,
        or documents regarding the Net Worth Sweep).

    •   Mr. DeMarco admitted he did not consider the ability to use the 12% payment-in-kind
        option to address any supposed concern over any future inability to pay cash dividends
        without using “circular draws.” Id. at 2546:20-2548:10. The evidence shows Mr. DeMarco
        did not consider any alternatives to the Net Worth Sweep. Id. at 2403; 1225-1227
        (testimony of Plaintiffs’ expert Dr. Bala Dharan listing potential alternatives).

    •   Treasury drove the timing of the Net Worth Sweep, and Treasury was motivated to push
        for the Net Worth Sweep because the GSEs were starting to make profits that exceeded the
        10% dividend – precisely the opposite concern FHFA claims was the reason for the Net
        Worth Sweep. On July 31, 2012, FHFA sent Treasury the expected GSE financial results
        for the second quarter of 2012, showing profits in excess of the dividend amount, allowing
        each GSE to build positive net worth from earnings for the first time since conservatorship
        began. Ex. C at 427 (PX-226A). When this was forwarded on within Treasury to Timothy
        Bowler, the Treasury point person for the Third Amendment, Bowler responded: “Really
        makes sense to push the net worth sweep this quarter.” Id. A little over a week later, Mr.
        Ugoletti reported to Mr. DeMarco that there was “a renewed push” from Treasury for the
        Third Amendment and its Net Worth Sweep. Id. at 436 (PX-247); Ex. A at 2472:21-
        2474:3.

    •   Documents show that Treasury believed the purpose of the Net Worth Sweep was to
        “demonstrate wind down” and ensure that the GSEs “will not be allowed to retain profits,
        rebuild capital, and return to the market in their prior form”—directly contradicting the
        purpose FHFA has given in this lawsuit. Ex. C. at 458, 460, 520, 551 (PX-278), (PX-282),
        (PX-566), (DX404). An FHFA document shows that at least one FHFA official, shortly
        after a meeting with Mr. Demarco, had also formed the understanding that the purpose of
        the Net Worth Sweep was to “demonstrate wind down.” Id. at 437 (PX-259).

•       The Net Worth Sweep was unprecedented in the history of government financing. Ex. A
        at 1122-23 (Plaintiffs’ expert Dr. Dharan: the Net Worth Sweep was “very
        unprecedented”); Id. at 765 (Plaintiffs’ expert Dr. Mason: “[I]n my study of financial crises
        from my entire career, I’ve never seen this done before…”); Id. at 898 (Plaintiffs’ expert
        Dr. Anjan Thakor: “It’s unprecedented.”).

         F.        Procedural History

              1.         Plaintiffs Successfully Appealed This Court’s Dismissal Of The Action
                         To The District Of Columbia Circuit.

        In 2014, this Court granted Defendants’ motion to dismiss Plaintiffs’ amended complaint.

Perry Cap. LLC v. Lew, 70 F. Supp. 3d 208 (D.D.C. 2014) (“Perry I”). Plaintiffs appealed Perry

I, and, on July 17, 2017, the U.S. Court of Appeals for the District of Columbia Circuit (“D.C.


                                                 8
        Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 18 of 65




Circuit”) reversed in part, holding that Plaintiffs could pursue their claim that the Companies

(through the FHFA as their conservator) violated the implied covenant of good faith and fair

dealing by depriving shareholders of the opportunity to receive dividends. Perry Cap. LLC v.

Mnuchin, 864 F.3d 591, 629-32 (D.C. Cir. 2017) (“Perry II”).

        First, the D.C. Circuit held that the implied covenant claim was not preempted by federal

law, stating, “[i]nsofar as the FHFA argues (and the district court held) that the Recovery Act

preempts state law imposing an implied covenant, this approach is foreclosed by the plain text of

the Recovery Act and by our precedent.” Id. at 630. The D.C. Circuit explained that Virginia and

Delaware law regarding the implied covenant is no obstacle to the objectives of Congress and

therefore not preempted by HERA. Id. Second, the D.C. Circuit directed this Court to evaluate

the claim under the “correct legal standard,” namely, “whether the Third Amendment violated the

reasonable expectations of the parties.” Id. at 631. As the D.C. Circuit ruled, “the stock certificates

upon which the plaintiffs rely provide for dividends if declared by the Board of Directors, in its

sole discretion. A party to a contract providing for such discretion violates the implied covenant

if it acts arbitrarily or unreasonably.” Id.

              2.    On Remand, This Court Upheld Plaintiffs’ Breach Of The Implied
                    Covenant Claim

        After Perry II, Plaintiffs filed their Second Amended Complaint (Class ECF 70), and

Defendants moved to dismiss it. Class ECF 66. In this Court’s September 28, 2018 decision, it

held that Plaintiffs stated a claim for breach of the implied covenant of good faith and fair dealing,

finding that Plaintiffs pled sufficient facts to support a finding that the Third Amendment violated

their reasonable expectations. MTD Ruling, 2018 WL 4681097, at *7-12.

        This Court also found that HERA’s “best interests” provision does not foreclose Plaintiffs’

implied covenant claims: “Defendants cannot simply say that since HERA permits the conservator



                                                  9
        Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 19 of 65




to act in its own best interests, the FHFA can do whatever it wants and Plaintiffs could not expect

otherwise.” Id. at *13; see also id. (FHFA may not “act with impunity”). The Court thereafter

denied Defendants’ motion for reconsideration, finding that Plaintiffs sought “to hold Defendants

presently accountable for a present breach of an implied promise inherent in every contract—that

both parties will operate in good faith and not violate their co-contracting party’s reasonable

expectations.” Class ECF 104 at 3.

              3.    This Court Certified Classes Of Current Holders And Plaintiffs Issued
                    Notice To Potential Class Members

        On August 12, 2021, Plaintiffs filed their motion to certify this action as a class action

under Federal Rules of Civil Procedure 23(b)(1), (2), and (3) (ECF No. 132). On October 14,

2014, the parties stipulated to certification of classes under Rules 23(a) and (b)(3). ECF No. 133.

On December 7, 2021, the Court issued an Order granting Plaintiffs’ motion for class certification

and certified the following Classes: (1) “All current holders of junior preferred stock in Fannie

Mae as of the date of certification, or their successors in interest to the extent shares are sold after

the date of certification and before any final judgment or settlement (the ‘Fannie Preferred

Class’)”; (2) “All current holders of junior preferred stock in Freddie Mac as of the date of

certification, or their successors in interest to the extent shares are sold after the date of certification

and before any final judgment or settlement (the ‘Freddie Preferred Class’)”; and (3) “All current

holders of common stock in Freddie Mac as of the date of certification, or their successors in

interest to the extent shares are sold after the date of certification and before any final judgment or

settlement (the ‘Freddie Common Class’).” Class ECF 139.

        On January 24, 2022, this Court entered an Order directing that notice of the class

certification be sent to potential members of the Certified Classes (“Certified Class Notice”). ECF

No. 141. Beginning on February 22, 2022, the Court-appointed claims administrator sent the



                                                    10
        Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 20 of 65




Certified Class Notice to potential Certified Class members. Class ECF 153. As of May 2022,

the claims administrator had mailed 146,017 copies of the Certified Class Notice to potential

members of the Certified Class. Id. Ultimately, only 32 individual shareholders submitted valid

requests to opt-out of the Classes. Class ECF 153 at Ex. D; Class ECF 415, at Ex. B.

              4.    The Summary Judgment Order

        On September 23, 2022, this Court issued its ruling on the parties’ cross motions for

summary judgment. The Court denied the Plaintiffs’ motion for partial summary judgment on the

narrow issue of whether the periodic commitment fee would have been enforceable in a world

without the Third Amendment. Fairholme Funds, Inc. v. Fed. Hous. Fin. Agency, 2022 WL

4745970, at *13-14 (D.D.C. Oct. 3, 2022) (“MSJ Ruling”).             The Court partially granted

Defendants’ motion by ruling that Plaintiffs were not permitted to seek damages based on a theory

of lost dividends or based on a theory of restitution. Id. at *9-10, *11-12. However, the Court

ruled that Plaintiffs were entitled to seek damages based on their assertion that the Net Worth

Sweep caused their shares to be worth less than they otherwise would be worth, as measured by

the drop in stock price on the date the Net Worth Sweep was announced. Id. at *11. The Court

also rejected Defendants’ arguments seeking summary judgment on liability, including (a) the

argument that the implied covenant did not apply because the HERA “best interests” provision left

no “gap” to be filled by the implied covenant, and (b) the argument that the Supreme Court’s

Collins decision foreclosed Plaintiffs’ implied covenant claim. Id. at *5-7.

              5.    The Trials

        This Court presided over two trials in this action. The first trial occurred in October 2022

and ended in a deadlocked jury and thus a mistrial. The second trial occurred in July and August

2023, and it resulted in a verdict for Plaintiffs.




                                                     11
        Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 21 of 65




       At both trials, Defendants moved for judgment as a matter of law under Rule 50(a) on the

same grounds advanced in their present motion, including that: (1) there was supposedly no “gap”

in the shareholder contracts for the implied covenant to fill; (2) Collins purportedly forecloses

Plaintiffs’ implied covenant claim here; (3) Plaintiffs failed to prove harm or damages with

reasonable certainty; and (4) post-Third Amendment purchasers were not harmed and thus lacked

standing. See Ex. B at 1821-1827; Class ECF 248; Ex. A at 2600:18-21. This Court denied both

Rule 50(a) motions. Ex. B at 1830, 2449-2450; Class ECF 271; Ex. A at 2600:22. At the end of

the first trial, Defendants also moved to decertify the Classes, arguing that under Plaintiffs’

damages theory the Classes include a substantial number of members who suffered no injury or,

at best, highly disparate injuries and damages that make Class treatment unworkable and

inappropriate. Class ECF 249. This Court denied that motion as well. Class ECF 271.

                                       LEGAL STANDARD

       Federal Rule of Civil Procedure 50(b) provides that, once a jury has rendered its verdict, a

party “may file a renewed motion for judgment as a matter of law and may include an alternative

or joint request for a new trial.” Fed. R. Civ. P. 50(b). The Court “do[es] not . . . lightly disturb a

jury verdict.” Radtke v. Lifecare Mgmt. Partners, 795 F.3d 159, 163 (D.C. Cir. 2015) (ellipsis in

original). Judgment as a matter of law is “highly disfavored” because it “intrudes upon the rightful

province of the jury.” Stella v. Boodoo, 21 F.3d 1157, 1161 (D.C. Cir. 1994)

       In ruling on a Rule 50(b) motion, the Court must resolve all reasonable inferences in the

nonmovant’s favor. Breeden v. Novartis Pharms. Corp., 646 F.3d 43, 53 (D.C. Cir. 2011). The

Court may grant a motion for judgment as a matter of law only if “no reasonable juror could reach

the verdict rendered in the case.” Anderson v. Group Hospitalization, Inc., 820 F.2d 465, 473

(D.C. Cir. 1987). Because the fundamental function of the jury is “to select, from among

conflicting inferences and conclusions, that which it finds most reasonable,” Metrocare v. Wash.


                                                  12
        Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 22 of 65




Metro. Area Transit Auth., 679 F.2d 922, 925 (D.C. Cir. 1982), “the court cannot substitute its

view for that of the jury, and can assess neither the credibility nor weight of the evidence.” Scott

v. District of Columbia, 101 F.3d 748, 753 (D.C. Cir. 1996). Consequently, “[e]ven if the Court

finds the evidence that led to the jury verdict unpersuasive, or that it would have reached a different

result if it were sitting as the fact-finder, that is not a basis for overturning the jury’s verdict and

granting judgment as a matter of law.” Allen v. Yellen, 2023 WL 3933723, at *1 (D.D.C. June 9,

2023) (citation omitted).

                                            ARGUMENT

  I.   THE DEFENDANTS’ ARGUMENTS ARE FORECLOSED BY THE LAW-OF-
       THE-CASE DOCTRINE.

       Section I of Defendants’ brief repeats arguments this Court has previously rejected, in some

cases more than once. Likewise, Defendants’ misplaced “standing” arguments in Section II are

nothing more than the same attacks on the Class definitions that Defendants have raised repeatedly,

despite agreeing to the Class definitions more than two years ago, and that this Court has repeatedly

rejected. The Court should again reject all of these arguments, both because they are wrong and

because they are precluded by the law-of-the-case doctrine.

       The “[l]aw-of-the-case doctrine refers to a family of rules embodying the general concept

that a court involved in later phases of a lawsuit should not re-open questions decided ... by that

court or a higher one in earlier phases.” Wye Oak Tech., Inc. v. Republic of Iraq, 24 F.4th 686, 697

(D.C. Cir. 2022) (citation omitted). The doctrine reflects the principle that “courts are ... loathe to

reconsider issues already decided, except in the case of extraordinary circumstances such as where

the initial decision was clearly erroneous and would work a manifest injustice.” Sherley v.

Sebelius, 689 F.3d 776, 781 (D.C. Cir. 2012).




                                                  13
       Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 23 of 65




       The law of the case doctrine applies at the Rule 50 stage. Rule 50(b) is not meant “to

rehash decisions that were made pre-trial, but to determine whether the jury verdict was supported

by the evidence presented at trial.” Martin v. Howard Univ., 2006 WL 2850656, at *5 (D.D.C. Oct.

4, 2006), aff’d, 275 F. App’x 2 (D.C. Cir. 2008). Therefore, courts should not depart from the law-

of-the-case doctrine in deciding a Rule 50 motion where the movant has offered no “intervening

change of law or any other basis for concluding that [the] prior decision[] [is] clearly erroneous.”

Freeman v. Giuliani, 2023 WL 8472723, at *3 (D.D.C. Dec. 7, 2023) (internal citations omitted).

       As shown below, Defendants have previously raised the arguments they make in their Rule

50(b) motion, and this Court has previously rejected all of them. 2 Defendants assert that the Court

should reconsider its prior decisions, but they make no effort to address the law-of-the-case

doctrine or to meet its demanding standards. Accordingly, while Plaintiffs address each of

Defendants’ arguments fully and demonstrate again why they are wrong, the Court can and should

reject these arguments at the threshold because Defendants have not even attempted to meet the

standard that applies to such recycled arguments at this stage.




2
  Specifically, Defendants made the Section I(A) “no gap to fill” argument in both their motion to
dismiss and their motion for summary judgment, with the Court rejecting it both times. MTD
Ruling, 2018 WL 4680197, at *12-13; MSJ Ruling, 2022 WL 4745970, at *6-7; Defendants made
the Section I(B) argument that Collins foreclosed Plaintiffs’ implied covenant claims on summary
judgment, which the Court correctly rejected, MSJ Ruling, 2022 WL 4745970, at *5-6; Defendants
made the Section I(C) argument about anticipatory breach in their motion for reconsideration of
the Court’s motion to dismiss ruling, and the Court rejected it in denying that motion, Class ECF
104 at 2-4; Defendants made their Section I(D) arguments at summary judgment and in trial and
the Court rejected them both times, Ex. A at 1508-1512; MSJ Ruling, 2022 WL 4745970, at *7,
*11 ; and Defendants made all their Section II arguments in both trials, sometimes more than once,
see Ex. A at 1821-1827; Class ECF 248, 249; Ex. A at 1500-1510, which the Court correctly
rejected all times. Ex. B at 1830, 2449-2450; Class ECF 271; Ex. A at 1512.


                                                14
       Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 24 of 65




 II.   THE COURT SHOULD REJECT DEFENDANTS’ MOTION FOR JUDGMENT AS
       A MATTER OF LAW FOR ALL PLAINTIFFS.

        A.     The Court Has Twice Correctly Rejected That The HERA “Best Interests”
               Provision Left “No Gap” For The Implied Covenant To Fill.

       Defendants first repeat their argument that the PSPAs expressly authorized the Net Worth

Sweep and thus left no gap for the implied covenant to fill. They base this argument on 12 U.S.C.

§ 4617(b)(2)(J), which authorizes the conservator to “take any action authorized by this section,

which the Agency determines is in the best interests of the regulated entity or the Agency.”

According to Defendants (Mot. at 19), the PSPAs incorporate that section and “by incorporating

HERA’s ‘best interests’ provision,” the PSPAs “specify the scope of FHFA’s contractual discretion”

and preclude application of the implied covenant. This Court has twice rejected this argument—

first in its MTD Ruling, 2018 WL 4680197, at *13, and then in its MSJ Ruling, 2022 WL 4745970,

at *7. It should reject it again now—based both on the law of the case doctrine and on the fact that

it is dead wrong for all the reasons the Court found previously.

       As both the D.C. Circuit and this Court have explained, under applicable state law, grants

of discretionary rights in contracts do not preclude application of the implied covenant. To the

contrary, when “exercising a discretionary right, a party to the contract must exercise its discretion

reasonably,” and so a “party to a contract providing for such discretion violates the implied

covenant if it acts unreasonably or arbitrarily.” Perry II, 864 F.3d at 631 (cleaned up, citations

omitted). Because “HERA only authorizes the discretion through which FHFA agreed to the Third

Amendment, rather than the Third Amendment itself, the prohibition of implied covenant claims

based on contractually authorized conduct does not bar plaintiffs’ claims.” MSJ Ruling, 2022 WL

4745970, at *7 (emphasis in original). Defendants “cannot simply say that since HERA permits

the conservator to act in its own best interests, the FHFA can do whatever it wants and Plaintiffs

could not expect otherwise. The question is whether Defendants exercised their discretion


                                                 15
        Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 25 of 65




arbitrarily or unreasonably in a way that frustrated Plaintiffs’ expectations under the contract.” Id.;

see also MTD Ruling, 2018 WL 4680197, at *13 (citing Delaware and Virginia case law re same).

       As this Court previously recognized, Defendants’ argument that the implied covenant does

not apply because of the “best interests” provision “is directly contrary to the D.C. Circuit’s

opinion” in Perry II. MTD Ruling, 2018 WL 4680197, at *13. Perry II held that the implied

covenant applied notwithstanding stock certificate provisions providing that whether to declare

dividends is in the “sole discretion” of the Board of Directors. Perry II, 864 F.3d at 631. Just as

they failed to do in their motion to dismiss and motion for summary judgment, Defendants fail to

explain why the discretion-conferring language in the “best interests” provision is any different.

They cannot. Neither the “sole discretion” language nor the “best interests of the Agency”

language required FHFA to enter into the Net Worth Sweep; instead, both constitute the type of

broad “discretionary right” that is subject to the implied covenant.

       Defendants base their-re-argument on three inapposite cases they cited previously. Mot.

19. But it is simply untrue that the contractual language in those cases is “materially

indistinguishable” from the HERA “best interests” provision. Mot. 22. Each of Defendants’ cases

involves contractual language that contains its own good faith or similar standard, and hence does

not call for application of the implied covenant.

       In Shareholder Representative Services LLC v. Medidata Solutions, Inc., the court

concluded that the implied covenant did not apply because the contract contained language that is

not in the HERA provision at issue here—i.e., it provided for the defendant’s right to operate the

business “in any manner in which” the defendant “deems appropriate in its sole and good faith

discretion.” 2020 WL 972618, *5 (D. Del. Feb. 24, 2020) (emphasis in original). In their brief,

Defendants misleadingly removed the italics from the words “good faith”—revealing their




                                                  16
       Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 26 of 65




inability to accept the court’s reasoning. Mot. 21. Defendants likewise fail to acknowledge that

the contract in Shareholder Representative also required the defendants there to “use commercially

reasonable efforts to achieve the full payment of the Earnout Purchase Price.” 2020 WL 972618,

at *5 (emphasis in original). The court emphasized the words “good faith” and “commercially

reasonable” because those words prescribed the use of discretion and hence left no room for the

implied covenant. Defendants ignore those words and distort the holding.

       Defendants likewise ignore the language that was at issue in Policemen’s Annuity and

Benefit Fund of Chicago v. DV Realty Advisors LLC, 2012 WL 3548206 (Del. Ch. Aug. 16, 2012).

There, as in the Shareholder Representative decision, the contract stated that the Limited Partners

must “in good faith determine” that removal of the Managing Partner “is necessary for the best

interest of the” limited partnership. Id. at *12 (emphasis added). Thus, unlike here, where

defendants rely on a general grant of statutory discretion that is not specific to a particular action

and does not specify how the discretion is to be exercised, the contractual provision in Policemen’s

Annuity authorized discretion to engage in a particular act (removal of the Managing Partner) and

specified how that discretion was to be exercised (“in good faith”). Because the contract expressly

required the parties to act in good faith, there was no basis for implying an obligation to do so.

       In the third case Defendants cite without discussing, Heritage Handoff Holdings, LLC v.

Fontanella, 2018 WL 3580287, at *3 & n.1 (D. Del. July 25, 2018), the contract language required

plaintiff to “cooperate fully, as and to the extent reasonably requested.” This is akin to imposing

a good faith “reasonableness” standard, thus obviating the need for the implied covenant. There

is no such language in the PSPAs, so there is no basis for declining to apply the implied covenant.

       Defendants also ignore that the Policemen’s Annuity case they invoke cites Wilmington

Leasing v. Parrish Leasing Co., L.P., 1996 WL 560190 (Del. Ch. Sept. 25, 1996), a decision that




                                                 17
       Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 27 of 65




confirms the implied covenant applies even when the contract sets forth a standard for exercising

contractual discretion. In Wilmington Leasing, the court held that the implied covenant applied to

a contract granting the right to remove the General Partner if “the Limited Partners determine that

the General Partner has failed or is unable to perform satisfactorily as General Partner.” Id. at *1.

While the contract delegated discretion to take a particular action according to a particular standard

(removing a partner based on a determination of unsatisfactory performance), it did not prescribe

how the discretion was to be exercised—and thus the implied covenant applied. Id. at *2.

       Numerous other cases confirm this. See Gerber v. Enter. Prod. Holdings, LLC, 67 A.3d

400, 419–20 (Del. 2013) (applying implied covenant to contractual safe harbor provision providing

that defendant would be conclusively presumed to be in compliance with an express contractual

duty by obtaining a third-party fairness opinion), overruled in part on other grounds by Winshall

v. Viacom Int’l, Inc., 76 A.3d 808 (Del. 2013); Bay Ctr. Apartments Owner, LLC v. Emery Bay

PKI, LLC, 2009 WL 1124451, at *6 (Del. Ch. Apr. 20, 2009) (implied covenant applied where

contract granted the “power and authority” to, inter alia, “take all proper and necessary actions

reasonably required to cause” the defendant “to perform and comply with the provisions” of “any

loan commitment . . . or other contract, instrument or agreement to which” the defendant “is a

party”); Desert Equities, Inc. v. Morgan Stanley Leveraged Equity Fund, II, L.P., 624 A.2d 1199,

1207 (Del. 1993) (implied duty to act reasonably applied to a contractual provision that permitted

the General Partner to prevent a Limited Partner from making a capital contribution upon making

the determination it could have a material adverse effect).

       Moreover, as this Court has also recognized, Defendants’ argument is inconsistent with

HERA’s authorization for FHFA to repudiate contracts “while also providing for the assessment of

damages when FHFA does so.” MSJ Ruling, 2022 WL 4745970, at *7 (citing 12 U.S.C. §§




                                                 18
        Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 28 of 65




4617(d)(1), (3)). Defendants argue (Mot. at 24) that this provision is irrelevant because the

question “is whether the implied covenant applies in this case given that Plaintiffs’ shareholder

contracts, by incorporating HERA’s ‘best interests’ provision, already specify the scope of FHFA’s

contractual discretion.” Defendants miss the point: both sections 4617(b)(2)(J) and 4617(d) are

incorporated into the contract, and the latter provision confirms FHFA must pay damages for a

breach of contract and precludes any suggestion that HERA gave the conservator carte blanche to

act in an arbitrary or unreasonable way that frustrates contractual expectations without paying

damages.

        B.         As This Court Has Already Correctly Ruled, Collins Does Not Foreclose
                   Plaintiffs’ Implied Covenant Claim.

        Defendants recycle their summary judgment argument that Collins forecloses Plaintiffs’

implied covenant claim, asserting that, “Collins rejected the central element that Plaintiffs had to

provide in order to establish a breach of the implied covenant—namely, that FHFA acted

‘arbitrarily or unreasonably’ by agreeing to the Third Amendment.” Mot. 24. The Court rejected

that argument in its summary judgment decision, MSJ Ruling, 2022 WL 4745970, at *5–6, and

thus the law of the case doctrine requires its rejection here. It is also meritless, as set forth below.

              1.      The Jury In This Case Addressed A Question Not Presented In Collins.

        Collins addressed “whether FHFA exceeded its statutory authority under HERA by

enacting the Third Amendment.” MSJ Ruling, 2022 WL 4745970, at *5. The Collins plaintiffs

sought to enjoin the Net Worth Sweep in an APA action, but 12 U.S.C. § 4617(f) provided that “no

court may take any action to restrain or affect the exercise of powers or functions of the Agency

as a conservator or a receiver.” The only way to get around that was for the plaintiffs to show that,

on its face, the Net Worth Sweep could not reasonably fall within even the outer boundaries of

FHFA’s statutory powers. The Supreme Court expressly limited its holding to a rejection of that



                                                  19
       Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 29 of 65




claim: “we conclude only that under the terms of the Recovery Act, the FHFA did not exceed its

authority as a conservator, and therefore the anti-injunction clause bars the shareholders’ statutory

claim.” Collins, 141 S. Ct. at 1778 (emphasis added).

       By contrast, the trial in this action required the jury to apply “a different type of

reasonableness analysis” based on the standard for evaluating damages claims for violation of the

implied covenant of good faith and fair dealing. MSJ Ruling, 2022 WL 4745970, at *5. A “party

to a contract violates the implied covenant of good faith and fair dealing if it acts arbitrarily or

unreasonably, thereby frustrating the fruits of the bargain that the asserting party reasonably

expected.” Id. (cleaned up). Under this inquiry, the “question is not whether defendants acted

reasonably in the abstract,” but rather whether they acted arbitrarily or reasonably “in reference

to” shareholders’ reasonable expectations. Id. at *5–*6 (emphasis in original). What is arbitrary

or reasonable thus depends upon “the parties’ reasonable expectations.” Id. at *5. In Collins, the

Supreme Court was not applying Delaware and Virginia law governing the implied covenant of

good faith and fair dealing, did not purport to define the content of shareholders’ “reasonable

expectations,” and did not purport to assess the Net Worth Sweep’s reasonableness or arbitrariness

with reference to those expectations. The D.C. Circuit’s opinion in Perry II confirmed that these

are different inquiries: it remanded the implied covenant claim while affirming the dismissal of the

APA claim by holding that the Net Worth Sweep was within FHFA’s statutory authority, precisely

as Collins did.

       Defendants ignore this and assert that “Plaintiffs’ evidence and arguments to the jury at

trial” were “materially indistinguishable” from the arguments made in Collins. Mot. 27. They say

(Mot. at 28) that because HERA was part of shareholders’ expectations, any action within that

authority must be within the “reasonable expectations” shareholders had. These arguments are




                                                 20
         Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 30 of 65




wrong.

         First, Defendants ignore the difference in the legal standards that the Supreme Court

applied and the nature of the implied covenant inquiry. As shown in Section II(A), an act can

simultaneously fall within the scope of delegated discretion and violate the implied covenant

because the implied covenant measures whether the manner in which that discretionary power

was exercised was arbitrary or unreasonable in relation to contractual expectations.

         Second, under the prior rulings of this Court and the D.C. Circuit in Perry II, HERA was

not the sole source of shareholders’ reasonable expectations. Rather, those expectations stemmed

from various sources, including FHFA’s contemporaneous statements explaining that the purpose

of the conservatorship was to “preserve and conserve” the assets of the Companies, and to

“stabilize a troubled institution with the objective of returning the entities to normal business

operations.” Perry II, 864 F.3d at 631; see also MTD Ruling, 2018 WL 4680197, at *9; Ex. A

3016-17 (jury instructions).

         Third, the whole point of Collins was that the Supreme Court did not determine whether

the Net Worth Sweep was arbitrary and capricious under the APA. To the contrary, it held that no

such APA review of the substantive reasonableness of the Net Worth Sweep was permitted because

the action was not ultra vires. The Supreme Court has never held, and FHFA would never concede,

that an argument over whether an FHFA action is ultra vires depends upon the substantive

reasonableness of that action. It does not. Thus, the question of the substantive reasonableness of

the Net Worth Sweep simply was not presented or resolved in Collins—let alone the question of

its reasonableness when compared to the reasonable contractual expectations of shareholders.

              2.    Because It Addressed A Different Question, The Jury Considered Evidence
                    Not Considered In Collins.

         Defendants presented the Court with a chart intended to show that the evidence and



                                                21
       Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 31 of 65




arguments made to the Supreme Court are “materially indistinguishable” from those made to the

jury. That is false for three reasons. First, the arguments made in Collins were directed at a

different legal question and standard, as shown above. Second, Collins was decided on the

pleadings, without consideration of any evidence or factual record.             Third, Defendants’

disingenuous chart ignores most of the evidence presented at trial. Defendants summarize just two

arguments: (i) that the Net Worth Sweep was unreasonable because the GSEs had reached

sustained profitability, and (ii) that the payment in kind option was a foolproof solution to the

circular dividend problem the FHFA was purportedly trying to solve. This “summary” ignores at

least three categories of evidence and associated arguments derived from days of trial testimony

from fact and expert witnesses, as well as scores of trial exhibits: (a) evidence of shareholder

expectations about the conservatorship, (b) evidence that the circular dividend rationale was

pretextual, including for an alternate agenda that contradicted reasonable contractual expectations,

and (c) evidence that Defendants followed an arbitrary process that shareholders could not

reasonably have expected. Each of these disproves Defendants’ contention that the Supreme Court

somehow based its ultra vires analysis on a rejection of “the same evidence.”

               a.      The jury was presented evidence of shareholder expectations that was
                       not relevant in Collins and thus not considered in Collins.

       In rejecting precisely the same APA claim and ultra vires argument that was rejected in

Collins, the D.C. Circuit remanded the implied covenant claim and held that the reasonable

contractual expectations of shareholders needed to be considered in light of “pertinent statements

by the FHFA” about the conservatorship. Perry II, 864 F.3d at 631. In denying the motion to

dismiss on remand, this Court likewise held that such statements were relevant to the reasonable

contractual expectations of shareholders. MTD Ruling, 2018 WL 4680197, at *9, *13.

       At trial, Plaintiffs presented extensive evidence showing that, at the time the



                                                22
       Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 32 of 65




conservatorship was imposed in September 2008, FHFA repeatedly said the conservatorship was

intended to restore Fannie and Freddie to sound and “solvent” condition (meaning having a

positive net worth), to “preserve and conserve” their assets (not give them away), to be of “limited

duration,” and to return the Companies to “normal business operations” so they can be “returned

to the shareholders,” as the “economic interests of shareholders have not been eliminated.” 3

Plaintiffs also showed that HERA provided that “Treasury was required to consider” the plan “for

the orderly resumption of private market funding or capital market access” and the “need to

maintain” each GSE’s status “as a private shareholder-owned company.” Ex. A at 2522:21-2523:6.

As this Court held, these “provisions signal to shareholders a Congressional expectation that the

GSEs would work back towards normalcy, and lend support to Plaintiffs who claim they could not

reasonably expect the Net Worth Sweep (which essentially closed access to capital markets).”

MTD Ruling, 2018 WL 4680197, at *13.

       The above evidence was not relevant to the ultra vires question resolved in Collins and

Perry II. But in resolving the implied covenant claim remanded by Perry II, a jury could

reasonably conclude from such evidence that the Net Worth Sweep was inconsistent with the

reasonable contractual expectations of shareholders.

               b.      The jury was presented evidence of motive and pretext that was not
                       relevant in Collins and thus not considered in Collins.

       The ultra vires question resolved in Collins did not depend on the factual question of

whether FHFA may have acquiesced to the Net Worth Sweep for reasons other than, or in addition

to, a concern about future circular dividends potentially eroding the Treasury Commitment. By


3
  Ex. A at 575:2-8 (reading Ex. C at 29 (PX-2E)); id. at 575:18-24 (reading Ex. C at 502 (PX-521));
id. at 576:14-15; id. at 746:5-14; id. at 1130:25-1131:6; id. at 1135:8–10; id. at 1135:19-20; id. at
2425:12-17, 2426:5-17 (reading Ex. C at 542, 546 (DX-102; DX-103)).




                                                 23
       Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 33 of 65




contrast, in this case, the question of whether FHFA agreed to the Net Worth Sweep for reasons

that are inconsistent with the reasonable expectations of shareholders was directly relevant. MTD

Ruling, 2018 WL 4680197, at *13 (ruling that evidence of “pretext” was relevant to showing

breach of implied covenant). At trial, Plaintiffs presented ample evidence from which a reasonable

jury could conclude that the FHFA acquiesced to the Net Worth Sweep for reasons that directly

contradicted the reasonable contractual expectations of shareholders.

       Specifically, Plaintiffs presented evidence that at the time it agreed to the Net Worth Sweep,

FHFA knew that:

   •   the GSEs had reached a period of “sustainable profitability” and would be generating large
       revenues in the coming years in excess of the 10% dividend, Ex. A at 996:20-24, 997:15-
       21, 998:4-11, 999:15-18; Ex. C at 96 (PX-205);

   •   the GSEs were looking forward to the “golden years” of GSE earnings and “a roaring
       recovery” based on an inflection point in the credit cycle and the reversal of the massive
       write downs they had taken for loan loss reserves, Ex. C at 178, 279 (PX-213); Ex. C at 94
       (PX-196); Ex. C at 90 (PX-147);

   •   the GSEs were projecting that by 2020, cumulative dividends to Treasury would exceed
       Treasury’s investment, Ex. C at 311 (PX-216);

   •   the boards of both GSEs were anticipating being required to reverse the accounting write
       down on their deferred tax assets in the near future, which would add over $70 billion to
       their net worth (which is exactly what happened in 2013), Ex. A at 996:21-997:4, 999:15-
       1000:7, 1002:2-6, 1003:17-1004:6, 1004:9-14; see also Ex. C at 568 (DX-645); Ex. C at
       570 (DX-675); see also Ex. A at 650:4-18; Ex. C at 24 (PX-1-O); Ex. C at 25 (PX-1-P);

   •   a June 25, 2012 Treasury memo recorded Acting FHFA Director Mr. DeMarco telling
       Secretary Geithner that he saw “no urgency” to agree to the Third Amendment because
       “the GSEs will be generating large revenues over the coming years, thereby enabling them
       to pay the 10% annual dividend well into the future…” (Ex. C at 96 (PX-205));

   •   during the seven week period between that late June 2012 meeting and the August 17, 2012
       agreement to the Net Worth Sweep, there is not a single FHFA document expressing any
       concern about the impending imposition of caps on the Treasury commitment or about the
       risk of future circular draws eroding those capped commitments—nor any memo
       discussing the need for the Net Worth Sweep to address that risk, Ex. A at 2401-03;

   •   when the Treasury point person on the Third Amendment discussions learned on July 31,
       2012 that the Companies were about to record large profits in the second quarter of 2012


                                                24
       Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 34 of 65




       in amounts that exceeded the 10% dividend and allowed them to start building net worth,
       he wrote “Really makes sense to push the net worth sweep this quarter.” Ex. C at 427 (PX-
       226A);

   •   a little over a week later, Mr. Ugoletti reported to Mr. DeMarco that there was “a renewed
       push” from Treasury for the Third Amendment and its Net Worth Sweep, Ex. C at 436
       (PX-247); Ex. A at 2472:21-2474:14; Ex. A at 2305:2-5 (referencing Ex. C at 436 (PX-
       247)) (“renewed push” for PSPA amendment came from Treasury);

   •   the Treasury made clear that its goal in pushing the Net Worth Sweep was to “demonstrate
       wind down” and to ensure the GSEs “will not be allowed to retain profits, rebuild capital,
       and return to the market in their prior form,” Ex. C at 458 (PX-278); Ex. C at 460 (PX-
       282); Ex. C at 520 (PX-566); Ex. C at 551 (DX-404)—this was the “message” Treasury
       wanted the Net Worth Sweep to convey, Ex. C at 519 (PX-550);

   •   likewise, when the FHFA’s senior accountant learned on August 14, 2012, about the
       potential restoration of the deferred tax assets, he thought it did not make sense because
       the Net Worth Sweep was “designed to demonstrate wind down”—an understanding he
       expressed shortly after having a meeting with Mr. DeMarco to discuss the Third
       Amendment, Ex. C at 437 (PX-259); see also Ex. A at 1434:8-14 (reading Ex. C at 437
       (PX-259);

   •   at least one document stated that “FHFA and Treasury share common goals to promote a
       strong housing market recovery, reduce government involvement in the housing market
       over time and to provide the public and financial markets with a clear plan to wind down
       the GSEs.” Ex. C at 88 (PX-144).

       A reasonable jury could have concluded from all this evidence that a principal driver for

FHFA’s decision to agree to the Net Worth Sweep was its desire to wind down the GSEs and

prevent them from rebuilding capital, and that this would contradict the reasonable contractual

expectations of shareholders. At a minimum, a reasonable jury could have concluded from this

evidence that FHFA acquiesced to Treasury’s desire to fulfill those goals, and that doing so was

inconsistent with the reasonable contractual expectations of shareholders.

       Moreover, a reasonable jury could have found that testimony by key FHFA witnesses was

not credible, further supporting a conclusion that FHFA’s reasons for agreeing to the Net Worth

Sweep were pretextual or otherwise inconsistent with reasonable shareholder expectations. For

example, by categorically and unequivocally denying that he ever made the statements



                                               25
        Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 35 of 65




contemporaneously recorded in the June 25, 2012 Treasury memo, Ex. C at 96 (PX-205), Mr.

DeMarco contradicted his prior sworn testimony—where, when directly asked if he made those

statements, he repeatedly testified that he simply could not remember whether he did or did not

make them. Compare Ex. A at 2301:14-2303, with Ex. A at 2371:23-2373:1; Ex. D (DeMarco Dep.

Tr.). A reasonable jury could have found this non-credible. Likewise, a reasonable jury could have

found non-credible the testimony of FHFA chief accountant Mr. Satriano, when he gave a highly

implausible account of his understanding of the “demonstrate wind down” document, claiming he

understood it to refer only to a slight acceleration in the reduction of the GSEs’ “retained portfolio,”

rather than the decision to sweep all future profits to Treasury. Ex A at 1728:24-1742:13; see also

Ex. A at 1178:25-1181:3; Ex. C at 494, 496-497 (PX-460). The jury also had reason to doubt the

credibility of the FHFA’s “point person” Mr. Ugoletti, both (a) as a negotiator, since he had

negotiated earlier versions of the PSPAs on Treasury’s behalf while employed there, and seemed

oblivious to whether he might have a conflict of interest, Ex. D (Ugoletti Dep. Tr.) 37:6-9, 45:8-

15, and (b) as a witness, since Mr. Ugoletti executed a sworn declaration at the outset of this

litigation stating that the Net Worth Sweep “would not” increase compensation to Treasury, and

that FHFA knew nothing about the potential reversal of the DTA allowances—both facts that

Plaintiffs easily disproved, compare Ex. C at 472-473 (PX-351); Ex. A at 40:15-41:17, with Ex. C

at 24 (PX-1-0); Ex. C at 437 (PX-259).

               c.      The jury was presented evidence of an arbitrary and unreasonable
                       process that was not relevant in Collins and thus not considered in
                       Collins.

       Collins did not address the FHFA’s process for agreeing to the Net Worth Sweep, as that

by definition had no relevance to the ultra vires question it resolved. By contrast, the jury in this

case was asked whether the manner in which FHFA exercised its power to agree to the Net Worth




                                                  26
        Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 36 of 65




Sweep was arbitrary and unreasonable in a way that contradicted reasonable contractual

expectations. There was ample evidence from which a reasonable jury could conclude that the

answer to that question was Yes, including not just the evidence referenced above, but also this:

    •   The absence of a single FHFA memo evaluating whether to enter into the Net Worth Sweep,
        analyzing the pros and cons, or discussing it in any way, Ex. A at 2401:18-21;

    •   The failure to update projections in light of the favorable financial news and to consider
        whether the Net Worth Sweep was necessary in light of the revised projections, id. at
        2527:24-2528:13;

    •   The failure to consider whether the Net Worth Sweep was advisable in light of the
        reasonably foreseeable write-up of the Deferred Tax Assets, id. at 2445:20-25;

    •   The failure to discuss the Net Worth Sweep with key GSE leadership, id. at 2527:6-2531:7;

    •   Expert testimony that such actions were inconsistent with how corporations typically reach
        such decisions, id. at 1228:12-1231;

    •   The failure to perform any analysis of an appropriate periodic commitment fee despite
        proffering that as a secondary rationale for the Net Worth Sweep. Id. at 2397:17-20; Ex.
        D (Ugoletti Dep. Tr.) 169:2-10 (played in Plaintiffs’ case); Ex. A at 875:19-876:17;

    •   The failure to consider any alternatives. Ex. A at 1221:12-21 (failure to consider payment
        in kind alternative); id. at 1225:20-1226:24 (failure to consider other alternatives); id. at
        1230:12-17 (“So just to repeat, there’s a variety of things the FHFA could have considered.
        And this is in addition to the PIK I already mentioned, but all the other alternatives. And
        there was no documentation, there was no memo, there’s no analysis that showed that they
        had done anything to identify these alternatives.”). 4

        A reasonable jury could conclude that the utter lack of process or reasonable consideration

of necessity or alternatives was totally inconsistent with reasonable contractual expectations. By

contrast, that kind of inquiry was, by definition, irrelevant to the issue in Collins.

         C.    The Court Correctly Concluded That Plaintiffs’ Implied Covenant Claim Is
               Not A Claim For Anticipatory Breach.

        Defendants argue that Plaintiffs’ implied covenant claim is an anticipatory breach claim


4
 Both parties’ experts agreed that the failure to consider any alternatives is contrary to standard
practice for a decision of the magnitude of the Net Worth Sweep. Ex. A at 1230:10-1231:13 (Dr.
Dharan); id. at 2071:2-7 (Dr. Attari).

                                                  27
       Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 37 of 65




that is precluded by the rule that such claims cannot be brought in connection with unilateral

contracts.   The Court rejected this argument when it rejected Defendants’ motion for

reconsideration of the 2018 MTD Ruling. Class ECF 104 at 2-4.

       As the Court explained in denying Defendants’ motion for reconsideration, “Anticipatory

breach is ‘a doctrine of accelerated ripeness’ . . . . The implied covenant, on the other hand, is an

ongoing obligation; performance is always due.” Id. at 3 (quoting Perry I, 864 F.3d at 633). That

ongoing obligation is to refrain from acting arbitrarily or unreasonably with respect to contractual

expectations for the length of the contractual relationship. Id. Plaintiffs’ implied covenant claims

thus “do not seek to hold defendants presently accountable for a future breach of an express

provision” but rather “seek to hold defendants presently accountable for a present breach of an

implied promise inherent in every contract—that both parties will operate in good faith and not

violate their co-contracting party’s reasonable expectations.” Id.

       Defendants have never had any credible answer to the Court’s reasoning and still do not.

Instead, they argue for several pages that an implied covenant claim is a claim for breach of

contract. That misses the point and the basis for this Court’s conclusion. The Court never said

that an implied covenant claim is something other than a claim for breach of contract. Instead, it

held that implied covenant claims challenge “a present breach of an implied promise inherent in

every contract” not to act arbitrarily or unreasonably with respect to contractual expectations. Id.

(emphasis added).

       Defendants also claim that Plaintiffs’ claim “rests on future performance” because part of

the Net Worth Sweep’s harm was that it eliminated the possibility of receiving dividends in the

future. Mot. 30. Relatedly, Defendants argue that reliance on the immediate drop in value

following the Net Worth Sweep is somehow inconsistent with the Court’s conclusion because it is




                                                 28
         Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 38 of 65




based on an expectation that the Net Worth Sweep would preclude any future payment of dividends

or liquidation preference. Mot. 30-31. These arguments are wrong. Regardless of the harm that

flows from a present breach, it remains the case that the Net Worth Sweep did not breach a future

obligation to pay dividends but rather breached a present and ongoing obligation to act in good

faith.

         Finally, Defendants argue that if the Court does not reconsider its conclusion, “little would

remain of the unilateral-contract limitation on anticipatory breach claims” because a plaintiff

“could easily circumvent this limitation by recharacterizing the alleged anticipatory breach of

contract as a present breach of the implied covenant.” Mot. 34. But it is not easy to recharacterize

an anticipatory breach claim as an implied covenant claim; there either is present conduct that

breaches the implied covenant or there is not. There is a material factual difference between

conduct that has already occurred that breached the ongoing implied covenant obligation, and an

anticipated future breach of an express contractual obligation that will only come due in the future.

The Court’s prior ruling was thus correct and should not be revisited.

          D.    Plaintiffs Proved With Reasonable Certainty That The Third Amendment’s
                Net Worth Sweep Caused Them Harm.

         This Court has repeatedly rejected Defendants’ damages arguments, and it should do so

again on the present motion. At summary judgment, the Court correctly held that Plaintiffs base

their claim on the fact that “the Third Amendment, by eliminating any possibility of future

dividends for [private] shareholders, deprived plaintiffs’ shares of much of their value, even if such

dividends were not reasonably certain to occur in the foreseeable future.” MSJ Ruling, 2022 WL

4745970, at *11. As the Court properly held, “an event study by one of defendants’ experts

showing a sharp decline in stock prices after the Third Amendment’s announcement refutes the

claim that this action caused no harm.” Id. Likewise, at the close of evidence at both trials, the



                                                  29
       Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 39 of 65




Court correctly rejected arguments about the evidentiary support for Plaintiffs’ damages claims

that are recycled again here. Ex. B at 1818:18-1830:2; Ex. A at 1508:5-1512:15. Thus, for the

reasons set forth in Section I, the law of the case doctrine bars Defendants’ damages arguments.

Nevertheless, we also show below that each of Defendants’ three damages arguments is meritless.

             1.   A Reasonable Jury Could Find From The Evidence That The Net Worth
                  Sweep Has Harmed Current Shareholders.

       Defendants first argue that Plaintiffs had the burden of showing that “but for the Third

Amendment, the market value of their shares would be higher today than it actually is,” and that

Plaintiffs failed to meet this burden by not showing “how much their shares would be worth today

absent the Third Amendment.” Class ECF 423 at 37 (emphasis in original). But Plaintiffs were

not required to show what the share price would be “today” in order to meet their burden to prove

that current shareholders are harmed. Defendants are once again confusing the evidence that

proves the existence of harm with the evidence that proves a reasonable estimate of that harm.

Plaintiffs presented ample evidence that current shareholders are harmed by the Net Worth Sweep,

including that:

   •   The Net Worth Sweep caused over $150 billion in value to be transferred to Treasury
       beyond what would have been transferred under the original 10% dividend. See Ex. A at
       912:2-13.

   •   The Net Worth Sweep gave Treasury 100% of all the Companies’ future profits and net
       worth, making it impossible for private shareholders ever to receive anything. Id. at
       1121:9-1122:16.

   •   The Companies in which current shareholders own stock would obviously benefit from
       having over $111 billion in excess cash dividends the Net Worth Sweep caused them to
       transfer to Treasury, over and above what the 10% cash dividend would have required—
       as even Mr. DeMarco admitted. Id. at 2392:19-2395:5.

   •   The harm from the Net Worth Sweep remains in place today (id. at 767:2-4), with 100%
       of the net worth generated by each Company each quarter still being transferred to
       Treasury—meaning that Treasury along among shareholders owns and benefits from all
       such increases in net worth. Id. at 1231:6-9 (Plaintiffs’ expert Dr. Dharan: “Here we are .



                                               30
        Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 40 of 65




       . . talking about giving of a hundred percent of the profits of Fannie Mae and Freddie Mac,
       really, forever, right? Basically for all future periods.” 5

       This is more than enough evidence to allow a reasonable jury to conclude that the Net

Worth Sweep has caused, and is continuing to cause, substantial harm to all current private

shareholders. Defendants are simply wrong to assert that the only evidence of such harm was the

one-day stock from the date the Net Worth Sweep was announced. All of the foregoing evidence

demonstrated harm to all current private shareholders. The one-day stock drop was the evidence

used to provide a reasonable estimate of the measure of that harm. But it was far from the only

evidence as to the existence of that harm, which included the list set forth above.

       Defendants raise another red herring by claiming Plaintiffs relied on the “ipse dixit” of Dr.

Mason that the harm caused by the Net Worth Sweep persists to this day. Class ECF 423 at 39

(quoting Ex. A at 767:2-4). But Dr. Mason’s testimony was not ipse dixit; it was supported by his

expert review of all of the evidence set forth above, including most importantly the obvious,

common-sense fact that the Net Worth Sweep remains in place. A reasonable jury could rely on

all of the foregoing to conclude that the Net Worth Sweep has harmed (and is harming) current

shareholders.

             2.    A Reasonable Jury Could Find That Share Price Increases After The
                   Third Amendment Are Irrelevant And In No Way Mitigate The Harm
                   Caused By The Net Worth Sweep.

       Defendants argue that price increases weeks or months after the Third Amendment “negate

Plaintiffs’ attempt to prove with reasonable certainty that the Third Amendment caused Plaintiffs

(current holders) any actual harm.” Class ECF 423 at 39. That is incorrect for several reasons.


5
  See also Ex. A at 2401:9-15 (“Q. But isn’t it a fact Mr. DeMarco, a simple fact, that before you
agreed to the net worth sweep, before you agreed to give away 100 percent of Fannie and Freddie’s
profits and net worth forever, you never had anyone do a study or written analysis or memo of any
kind trying to determine the likelihood of an outcome like the 2013 outcome? Isn’t that correct?
A. That’s correct.”).


                                                 31
        Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 41 of 65




       First, Defendants’ argument is based on a fundamental misconception about the relevance

of the one-day stock drop. As this Court has previously ruled, “The drop in the stock is not itself

the alleged injury” but is instead “just a measure of damages” for the injury—which is the harm

caused by the Net Worth Sweep, which eliminated any possibility of dividends and permanently

alienated shareholders from the profits of the Companies. Ex. B at 1830, 2449-2450. By contrast,

in the securities fraud cases Defendants cite, plaintiffs sue to collect damages for the harm caused

by the stock drop itself—meaning, the stock drop from a previously concealed disclosure is the

harm itself that triggers the lawsuit, rather than a reasonable estimate used to measure the harm

that triggered the lawsuit. By failing to recognize this distinction, Defendants are advancing

completely misguided arguments to show that “the harm” was eliminated by subsequent share

price rises. It was not. The harm from the Net Worth Sweep persists to this day because the Net

Worth Sweep persists to this day, as Plaintiffs’ expert testified. Ex. A at 767:2-4; see also Section

III(A), above. Logically, any share price increases could only have been caused by developments

unrelated to the Net Worth Sweep, which could not eliminate the harm caused by the Sweep.

       Indeed, the evidence before the jury made crystal clear that any subsequent price increase

had nothing to do with any amendment or mitigation of the Net Worth Sweep. The Defendants’

expert’s own event study confirms that. It lists the events to which it attributes the subsequent

changes in stock price, and none have anything to do with the Net Worth Sweep. Ex. C at 487-

489 (PX-375). Ex. C at 474 (PX-375) was prepared by Defendants’ expert Dr. Attari; if he

believed any of the subsequent share price increases in the report mitigated Plaintiffs’ damages,

he could have testified to that. Instead, he chose not to testify about his event study at all.

       Further, a reasonable jury could conclude that stock price increases several weeks or

months after the Third Amendment were irrelevant. That positive developments at the GSEs




                                                  32
        Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 42 of 65




caused price increases is in no way inconsistent with this fundamental fact: the Net Worth Sweep

causes permanent and ongoing harm to private shareholders by making it impossible for them to

ever receive anything from the Companies, and by giving everything to Treasury.

       In addition, to the extent Defendants are arguing that subsequent price increases mitigated

the harm caused by the Net Worth Sweep, they are dead wrong as a matter of both substance and

process. Once Plaintiffs came forward with evidence of the harm resulting from the Net Worth

Sweep, it was Defendants’ burden to introduce logical evidence of mitigation of that harm, if they

could. 6 Defendants failed to make any effort to carry their burden to prove mitigation. Defendants’

expert Dr. Attari did not introduce any evidence related to purported mitigation of damages;

indeed, he did not testify about damages at all.

       Independent of all of the above, Defendants also waived this entire argument when they

expressly agreed they “would not ask Dr. Mason questions about ‘price recovery’ or otherwise

argue to the jury that the share-price increases after August 17, 2012 mitigated Plaintiffs’

alleged damages.” Ex. E. Defendants argue this agreement did not relieve Plaintiffs from their

burden of proof (Class ECF 423 at 37 n. 6), but that makes no sense given that Plaintiff presented

ample evidence of both harm and of how reasonably to measure that harm, and it was Defendants’

burden to prove mitigation.

       Defendants’ fundamental misconception leads them to invoke obviously inapposite case

law involving claims of securities fraud. In Ross v. Walton, 668 F. Supp. 2d 32, 41 (D.D.C. 2009),

the plaintiffs alleged that the defendants’ issuance of a press release disclosing an indictment



6
 W.G. Cornell Co. of Washington, D. C. v. Ceramic Coating Co., 626 F.2d 990, 993 (D.C. Cir.
1980) (citing 5 A. Corbin, Contracts s 1039 (1963) (“It is well established that the burden of
proving damages could have been mitigated falls on the party who breached the
contract.…..“[h]aving failed to carry this burden, or even raise the question at trial, [the defendant]
cannot now claim that the award was improper” because the damage was mitigated.”)


                                                   33
        Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 43 of 65




caused them economic loss because it caused their stock price to drop. Those plaintiffs were not

suing over a permanent impairment and harm to their shares caused by a fundamental and

permanent change to the capital structure of the company. Instead, they were suing over the stock

drop itself. And the facts showed that on the very same day of the press release, the company’s

stock price rose immediately after the disclosure, thus undermining the proposition that it was the

press release that caused any brief decline in price, or that any loss was suffered at all. Id. By

contrast, in this case, Plaintiffs are suing over the permanent harm they have suffered from the Net

Worth Sweep, which remains in effect to this day. As for the measurement used to provide a

reasonable estimate of that harm, as shown in Section III(C), below, the evidence overwhelmingly

showed that the stock drop on August 17, 2012 was clearly caused by the announcement of the

Net Worth Sweep. Ross is thus completely inapposite.

       Ross is also irrelevant because it is based on the flawed reasoning of Malin v. XL Capital

Ltd., 2005 WL 2146089 (D. Conn. 2005), which the Second Circuit subsequently vacated in

Acticon AG v. China N. E. Petroleum Holdings Ltd., 692 F.3d 34 (2d Cir. 2012), explaining that it

was “improper to offset gains that the plaintiff recovers after the fraud” if “the stock recovers value

for completely unrelated reasons.” Acticon, 692 F.3d at 41. Notably, the Acticon court cited Ross

and In re Immucor, Inc. Sec. Litig., 2011 WL 3844221, at *2 (N.D. Ga. Aug. 29, 2011)—both cited

by Defendants here—as cases that are “inconsistent with both the traditional out-of-pocket

measure for damages and the ‘bounce back’ cap imposed in the PSLRA.” 692 F.3d at 39. See also

In re Harman Int’l Indus., Inc. Sec. Litig., 791 F.3d 90, 111 (D.C. Cir. 2015) (plaintiff may plead

a loss by alleging “marked declines in the Company’s stock price” following an alleged corrective

disclosure, with no reference to supposed need to rule out a subsequent price increase).

       Defendants quote the Supreme Court’s decision in Dura Pharms., Inc. v. Broudo, 544 U.S.




                                                  34
       Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 44 of 65




336 (2005), a securities fraud decision about loss causation, not mitigation. Again, this case is

irrelevant because it addresses claims that seek to recover for the harm of a stock drop, rather than

a harm caused by a capital restructuring that is permanent, and that is reasonably estimated by a

stock drop. Dura held that a stock price decline might be caused by “changed economic

circumstances” or other factors unrelated to discovery of an alleged misrepresentation. Id. at 347.

That has no bearing here. As shown below, the evidence showed that the only plausible cause for

the August 17, 2012 stock drop used to estimate damages in this case was the Net Worth Sweep.

As shown above, the events linked to subsequent price changes are unrelated to the Net Worth

Sweep and those prices changes are thus irrelevant to measuring the harm caused by the Net Worth

Sweep. 7

             3.   A Reasonable Jury Could Find That The One-Day Decline In Share Prices
                  On August 17, 2012 Was Caused Solely By The Net Worth Sweep.

       Defendants claim that Plaintiffs “introduced no evidence to exclude an alternative cause of

the share-price drop” that occurred on August 17, 2012—namely, that the Third Amendment’s

slight acceleration in the pace of the reduction of the retained portfolio from 10% per year to 15%

per year. Class ECF 423 at 42-43. That is not correct. It is also absurd, given the enormous

difference between the Net Worth Sweep and marginal change in portfolio reduction.

       Contrary to Defendants’ assertions, Plaintiffs’ expert Dr. Mason, who has performed

“hundreds” of event studies over the course of his longstanding career, Ex. A at 751:9-12, testified

that he considered the accelerated reduction of the retained portfolio in formulating his opinion on



7
  Likewise, Goldman Sachs Group, Inc. v. Arkansas Teacher Retirement System, 594 U.S. 113
(2021), has nothing to do with the claim in this case. It holds that a securities fraud plaintiff must
show a nexus between a corrective disclosure and the price inflation linked to a prior
misrepresentation; it did not hold that such a plaintiff must rule out subsequent price increases, let
alone say anything about what plaintiffs must do when recovering damages for permanent harm
caused by a capital restructuring.


                                                 35
        Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 45 of 65




damages and ruled it out as a cause of the stock price decline on August 17, 2012:

       Q.      Professor, in your opinion, is there any reason to believe that anything
               besides the net worth sweep could have caused the huge decline in stock
               price on August 17th, 2012?

       A.      No.

       Q.      Is it true that at the same time that the FHFA announced the net worth sweep,
               it also announced that Fannie and Freddie would accelerate the reduction of
               Fannie and Freddie’s retained mortgage portfolio from a 10 percent
               reduction per year to a 15 percent reduction per year?

       A.      Yes.

       Q.      In your view, did that news cause the stock price declines on that day?

       A.      No.

Ex. A at 769:8-20. See Ex. A at 3009:18-3010:16 (jury instructed it may consider witness’s

“experience, training, or education” in accepting a witness’s opinion).

       Dr. Mason also testified why the accelerated reduction of the retained portfolio need not be

disaggregated from other aspects of the Third Amendment: because, as a matter of financial

economics, the effect of the accelerated reduction of the retained portfolio was entirely eclipsed

by “the overriding effect” of the Net Worth Sweep. Id. at 769:22-770:1. Dr. Mason also ruled out

the accelerated reduction of the retained portfolio as something that had to be disaggregated

“[b]ecause the overriding effect here comes from Treasury taking all the money generated by the

firms no matter whether that was a little larger or a little smaller as a result of this change to the

target for the retained portfolio, which is just a piece of the firm anyway.” Id. at 769:21-71:1.

       Further, while Defendants assert that Dr. Mason admitted that the Attari event study did

not distinguish between the impact of the Net Worth Sweep and the acceleration of the reduction

of the retained portfolio, they ignore that Dr. Mason also testified that he did not rely solely on Dr.

Attari’s event study in reaching his own conclusions. When asked, “So did you limit your analysis




                                                  36
       Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 46 of 65




in this case just to the work that Dr. Attari did?” Dr. Mason responded “No” (id. at 752:20-22),

and on cross-examination, Dr. Mason testified that “I did look at things beyond this event

study.” Id. at 780:7-8; see id. 752:23-753:5 (“I reviewed a wealth of materials, including financial

filings by Fannie Mae and Freddie Mac, FHFA reports, documents produced in this case, emails,

deposition testimony, court documents. A lot of materials and background.”); id. 753:22-753:12,

757:9-11 (referencing Dr. Mason’s independent corroboration of the underlying materials

comprising the event study conclusions). Dr. Mason also stressed that his analysis was focused on

“the effect of the net worth sweep” as a whole. Id. at 781:8-15. Further, Dr. Mason drew from his

deep experience in financial economics and as an historian of past financial crises to conclude that

the impact of the Net Worth Sweep was “very dramatic,” and that “in my study of financial crises

from my entire career, I’ve never seen this done before, just taking all the profits and saying to

shareholders.” Id. at 765:12-766:2. And Dr. Mason disagreed that he arrived at his damages

number of $1.61 billion “just by adding up the decline in market value for that one day on August

17th, 2012”, stating “I also looked at other potential effects within the third amendment. So there

was a bit more than adding up.” Id. at 790:16-791:7.

       Defendants also ignore that Plaintiffs presented evidence showing that the increase in the

Companies’ G-fees outweighed any reduction in income caused by the reduction of the retained

portfolio. Id. at 1179:17-1180:8; see also 1175:23-1176:20. Plaintiffs also presented evidence

corroborating Dr. Mason’s testimony that, in contrast to the marginal relevance of the reduction

rate for the portfolio, the Net Worth Sweep was totally unprecedented in U.S. financial history. Id.

at 1123:10 (Plaintiffs’ expert Dr. Dharan: the Net Worth Sweep was “very unprecedented”); id. at

898:13-19 (Plaintiffs’ expert Dr. Anjan Thakor: “It’s unprecedented.”).

       Based on all the foregoing, a reasonable jury could have found that the Net Worth Sweep




                                                37
       Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 47 of 65




was the sole cause of the massive share price drop on August 17, 2012, and that a slight change in

the pace of retained portfolio reduction was not a significant financial event.

       Defendants are wrong to suggest otherwise. They seem to be suggesting that Dr. Mason

was legally required to do an econometric disaggregation analysis of some kind in order to offer

the testimony quoted above. That is incorrect.

       As the court held in In re Allergan PLC Securities Litigation, plaintiffs only “need to

disaggregate any legitimate confounding factors to prove economic loss.” 2021 WL 4077942, at

*15 (S.D.N.Y. Sept. 8, 2021); see also Harman, 791 F.3d at 111; Tesla Securities Litigation, 2022

WL 7374936, at *11 (N.D. Cal. Oct. 13, 2022) (rejecting defendants’ challenge to plaintiffs’ expert

for failure to disaggregate impact of two different aspects of Elon Musk post because there was “a

factual basis for [the expert’s] assumption that the [challenged portion of the statement] rather than

[other portions of the statement] caused” the change in the company’s stock price).

       Here, the accelerated reduction in the size of the retained portfolio did not comprise a

“legitimate confounding factor” separate from the overring impact of the Net Worth Sweep. As

shown above, it was the unrebutted opinion of Plaintiffs’ experienced expert that he did not need

to disaggregate it. Defendants’ expert, Dr. Attari, conceded that he “agree[d] with th[e]

characterization” of former Freddie Mac CEO Donald Layton that “the rate of reduction of the

retained portfolio was only, quote, ‘slightly speeded up,’ end quote, as a result of the third

amendment, and that "quote ‘The numbers were not that large at that point,’ end quote, relating

to the retained portfolio.” Ex. A at 2000:11-20 (emphasis added).

         And as this court held in rejecting Plaintiffs’ effort to preclude Dr. Attari from testifying,

without doing any disaggregation analysis at all, that the Net Worth Sweep caused GSE bond

prices to increase because it eased concerns over future circular draws eroding the Treasury




                                                  38
       Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 48 of 65




Commitment—rather than because it signaled a material reduction in supply of future GSE bonds

(as FHFA documents said at the time, Ex. C at 460 (PX-282))—such criticisms go to the weight

of the testimony for the jury to resolve. Class ECF 344 (“Dr. Attari has explained why he

discounted that explanation” and “[i]f plaintiffs do not think his explanation is good enough, that

is fodder for cross-examination or dueling expert testimony, not exclusion by the Court.”). At

trial, Plaintiffs introduced PX-282, an internal FHFA email from August 17, 2012 (the day of the

Net Worth Sweep) which attributed tightening yield spreads of longer-term GSE bonds post-Third

Amendment to the fact that “as the Enterprises wind down there will be less longer term debt

issued, leaving investors to fight over existing supply”—and not to the fact that the New Worth

Sweep allayed any market concerns. Plaintiffs also attacked Dr. Attari’s conclusions at trial,

questioning him about the composition of his event study that included less than 2% of all relevant

GSE bonds (Ex. A at 1958:6-1970:22); establishing that relevant GSE bond yield spreads had been

declining throughout 2012 up to the Third Amendment, thus demonstrating the market had no

concerns regarding circular draws (Ex. A at 2058:11-2059:17); showing that the high credit ratings

of Fannie and Freddie did not change prior to the Third Amendment, also signifying a lack of

concern (Ex. A at 1953:4-1956:13); and demonstrating that the reduction in the retained portfolio

was immaterial (Ex. A at 2000:11-20).

       Thus, even when faced with an actually dubious failure to disaggregate what was actually

a legitimate confounding factor, this court has already held in this case (see Class ECF 333, 334),

as courts have likewise held in other cases, that a disagreement about what constitutes a

confounding variable goes to the weight of the expert’s opinion, not its admissibility; and here, the

jury resolved any dispute over weight in favor of Plaintiffs. Id. See also Tesla, 2022 WL 7374936,

at *12 (to extent defendant argued plaintiffs’ expert relied on “an improper assumption, in general




                                                 39
       Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 49 of 65




such issues are for the jury to assess.”); SEC v. Ustian, 2020 WL 416289, at *11 (N.D. Ill. Jan. 26,

2020) (same); SEC v. Jacoby, 2022 WL 982542, at *3 (D. Md. Mar. 30, 2022) (same); Baker v.

SeaWorld Ent., Inc., 423 F. Supp. 3d 878, 934 (S.D. Cal. 2019) (same). 8

III.   THE COURT SHOULD REJECT DEFENDANTS’ EFFORT TO OBTAIN
       JUDGMENT AS A MATTER OF LAW AGAINST POST-THIRD AMENDMENT
       PURCHASERS AS JUST ANOTHER MERITLESS ATTEMPT TO ATTACK THE
       DEFINITION OF THE CERTIFIED CLASSES.

       After agreeing to the Class definitions and consenting to certification of the Classes more

than two years ago, 9 Defendants have subsequently made a habit of attacking the definition and

certification of those Classes. Their current challenge, which comes in the poorly packaged guise

of a purported “standing” argument, is indistinguishable from those the Court previously has

rejected. The Court should again reject Defendants’ meritless arguments.

         A.    The Court Has Repeatedly And Correctly Rejected Defendants’ Efforts To
               Attack The Definition Of The Certified Classes To Which They Stipulated.

       Defendants raise two primary arguments in Section II of their Brief: (i) post-Third

Amendment purchasers suffered no injury-in-fact and thus lack Article III standing to be part of

the Classes, and (ii) Plaintiffs’ claim for breach of the implied covenant of good faith and fair

dealing does not run with the shares and, thus, post-Third Amendment purchasers lack standing.

Defendants have asserted these arguments no fewer than three times, and the Court has consistently

rejected them. Pursuant to the law-of-the case doctrine, the Court should decline to reconsider

them now.

       Defendants first raised these arguments during the first trial, both orally and through a


8
 Finally, any argument by Defendants that Dr. Mason needed to do more expert work to offer the
testimony he offered is a belated and waived Daubert argument, not a basis for seeking relief under
Rule 50(b).
9
 See Class EFC 133 (Stipulation for Class Certification); 135 (Joint Response to Court Order of
November 15, 2021).


                                                40
       Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 50 of 65




written Rule 50(a) Motion and Motion to Decertify the Classes, which the Court denied. See Ex.

B at 1821-1827; see also Class EFC 248 and 249. After Plaintiffs’ case-in-chief in the first trial

in this Action, Defendants orally argued that there were “many class members who bought their

shares after the Third Amendment” who “suffered no harm.” See Ex. B at 1823. In their written

Motion to Decertify the Classes, Defendants argued that “the classes now include a substantial

number of class members who suffered no injury or, at best, highly disparate injuries and damages

that make class treatment unworkable and inappropriate—and excludes the individuals who sold

their shares at a loss after the Third Amendment.” 10 And in their written Motion for Judgment as

a Matter of Law Under Federal Rule of Civil Procedure 50(a), Defendants also argued that “the

claims of those who sold shares after the Third Amendment do not travel to subsequent purchasers

(who include current members of the classes),” and that “post-Third Amendment shareholder

purchasers not only suffered no injury, they benefited from the price drop, and their claims must

be dismissed.”

       The Court denied each of Defendants’ motions, explaining that:

          both of these motions misunderstand the theory of harm that I allowed to
          proceed to trial in the summary judgment opinion under the lost value theory
          of harm . . . . The drop in the stock price is not itself the alleged injury. The
          alleged injury is that the net worth sweep effectively eliminated the dividend
          rights that came with the shares as they were originally issued. In other
          words, when someone buys a share in a company, they’re purchasing a
          bundle of rights. And plaintiffs are arguing here that the net worth sweep
          removed one of the most valuable sticks from that bundle. That’s a type of
          claim that travels with the shares…. The drop in stock prices is just a measure
          of damages[.]

Ex. B at 2449-2450; Class ECF 271.


10
   See Class ECF 248, 24. 10/31/2022 Motion to De-Certify the Classes, at 12 (stating “these
classes no longer meet Rule 23(b)(3)’s predominance requirement or the requirements of Article
III and the Rules Enabling Act”); 10/31/2022 Motion for Judgment as a Matter of Law Under
Federal Rule of Civil Procedure 50(a), at 9.


                                                 41
       Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 51 of 65




       This is the same fundamental misconception at the heart of Defendants’ current motion.

Their central contention is that post-Third Amendment purchasers “suffered no injury from the

share-price drop.” Class ECF 423 at 44. But as the Court correctly held, the injury here is the

permanent harm caused by the Net Worth Sweep, which eliminates any possibility of private

shareholders ever receiving dividends or profit distributions of any kind, since it gives everything

to Treasury. All current shareholders have suffered (and continue to suffer) that injury, and thus

have standing. See Section II(D)(1), above. The share-price drop is just the reasonable measure of

that harm. Moreover, the Net Worth Sweep represents a non-personal impairment to the stock, as

opposed to the stockholder, and therefore claims based on the Net Worth Sweep run with the

shares. E.g., Urdan v. WR Cap. Partners, LLC, 244 A.3d 668, 677 (Del. 2020) (“A corporate

charter violation claim travels with a stock sale because the injury ‘is to the stock and not the

holder.’”); Ex. B at 2449-2450.

       After the close of Plaintiffs’ case-in-chief in the second trial, Defendants again moved

pursuant to Rule 50(a), re-arguing that the composition of the Classes was improper because post-

Third Amendment buyers suffered no injury in fact and therefore lacked standing. Defendants

also disputed that implied covenant claims travel with the shares upon a sale of the stock if there

was no valid assignment. See Ex. A at 1500:4-1510:17. The Court again denied Defendants’

motion. Ex. A at 1512:15. 11 Defendants then sought permission to file another written Rule 50(a)

motion on these issues, which the Court denied. Ex. A at 1512:18-23.

       Defendants now redeploy the same arguments the Court has repeatedly rejected, citing



11
   Defendants thereafter sought to attack the Classes through their Opposition to Plaintiffs’ Motion
for Entry of Final Judgment and Plan of Allocation, arguing that Plaintiffs’ proposed plan of
allocation would improperly pay damages to holders of “shares that were opted out of the Classes.”
See Class ECF 417. The Court rejected Defendants’ objection. See Class ECF 420, at 8-10.


                                                42
       Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 52 of 65




many of the same inapposite authorities they did previously. 12 Defendants do not even pretend to

raise any “intervening change of law or any other basis for concluding that the[] prior decision [is]

clearly erroneous.” Freeman, 2023 WL 8472723, at *3 (internal citations omitted). Rather, they

expressly ask this Court to “reconsider its rulings that the claim ‘travels with the share’” for no

valid reason. Class ECF 423 at 46. Having “offered no basis to disturb this Court’s rulings, [and]

having ‘raise[d] nothing new with respect to these issues,’” Freeman, 2024 WL 1616675, at *9,

Defendants have provided the Court no reason to upend the law of the case.

         B.    Defendants’ Challenge to the Class Definition Is Not a Proper Standing
               Argument or Basis for a Rule 50(b) Motion.

       Likely because of Defendants’ prior concession that post-Third Amendment purchasers

were properly in the Class definitions, they try to dress up their effort to abandon that concession

as a “standing” argument (because objections to “standing” cannot be waived). But it is not a

“standing” argument; instead, it is simply an argument that certain members of the class have failed

to state a claim. Defendants’ argument contravenes the bedrock principle that “when considering

whether a plaintiff has Article III standing, a federal court must assume arguendo the merits of his

or her legal claim.” Parker v. District of Columbia, 478 F.3d 370, 377 (D.C. Cir. 2007); see also,

e.g., FEC v. Cruz, 596 U.S. 289, 298 (2022). On the merits, Plaintiffs’ claim (and this Court has

held) that claims challenging the Net Worth Sweep as a breach of the implied covenant in the

shareholder certificates run with the shares, and thus are held by all current shareholders, including

post-Third Amendment purchasers. The Court must assume that merits point is correct for

purposes of deciding Article III standing. If that were not the rule, then every dispute about the


12
   E.g., compare Ex. B at 1825 (citing Cheatham IRA v. Huntington Nat’l Bank, 157 Ohio St.3d
358 (2019)); 10/31/2022 Motion to De-Certify the Classes, at 17-19 (citing Cheatham IRA);
10/31/2022 Motion for Judgment as a Matter of Law Under Federal Rule if Civil Procedure 50(a),
at 10-12 (citing Cheatham IRA); with Class ECF 423 at 5, 50, 51, 55 (citing Cheatham IRA).


                                                 43
        Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 53 of 65




validity of an assignment of contractual rights—and indeed, most arguments that a litigant has

failed to state or prove a claim—would be an Article III standing issue, which is not the law.

       In addition to not being a proper standing challenge, Defendants’ effort to challenge the

Class definitions is also not a proper basis for a Rule 50(b) motion. Rule 50(b) is not meant “to

rehash decisions that were made pre-trial, but to determine whether the jury verdict was supported

by the evidence presented at trial.” Martin, 2006 WL 2850656, at *5. In challenging the ability

of post-Net Worth Sweep purchasers to participate in the recovery, Defendants are not challenging

the jury’s verdict nor the evidence supporting it. Instead, Defendants’ challenge is directed at the

Court’s pre-trial class certification order that recognized the standing of post-Net Worth Sweep

purchasers (ECF 137, ECF 138), and the Court’s related pre-trial determination that the claims

travel with the shares. MSJ Ruling, 2018 WL 4680197, at *8 (determining that rights associated

with dividends and liquidation preferences inhere in the security, and travel with shares). Such a

challenge to pre-trial rulings is barred by the law of the case, and improper under Rule 50(b).

         C.    Plaintiffs’ Implied Covenant Claims Against Fannie Mae Travel With The
               Shares Under Delaware Law.

       Section 8-302(a) of Title 6 of the Delaware Code provides in relevant part that “a purchaser

of a certificated or uncertificated security acquires all rights in the security that the transferor had

or had power to transfer.” 6 Del. C. § 8-302(a). Thus, as Defendants acknowledge (ECF 423 at

52), under Delaware law, rights “in the security” travel with the security. MTD Ruling, 2018 WL

4680197, at *8 (citing Delaware law); Urdan, 244 A.3d at 668. Defendants’ argument that the

claims here did not travel with the shares rests on the false premise that the implied covenant

claims are not “rights in the security.”

       Interpreting Section 8-302, the Delaware Supreme Court in Urdan observed that the

“phrase ‘all rights in the security’ can be understood as distinguishing between personal rights of



                                                  44
       Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 54 of 65




the holder, on the one hand, and rights that inhere in the security itself, on the other.’” 244 A.3d

at 677 (Del. 2020) (cite omitted). 13 Rights that inhere in the security “are rights ‘arising from the

relationship among stockholder, stock and the company.’” Urdan, 244 A.3d at 677 (cite omitted).

       As the Delaware Supreme Court has repeatedly held, “[a] corporate charter violation claim

travels with a stock sale because the injury is to the stock and not the holder.” Urdan, 244 A.3d

at 677; see also In re Activision Blizzard, Inc. S’holder Litig., 124 A.3d 1025, 1050 (Del. Ch.

2015). 14 Under Delaware law, a stock certificate is part of the corporate charter. See e.g., W. Palm

Beach Firefighters’ Pension Fund v. Moelis & Co., 2024 WL 747180, at *6 (Del. Ch. Feb. 23,

2024) (“The certificate of designations for … new preferred stock would become part of the

Charter as a matter of law.”); Halifax Fund, L.P. v. Response USA, Inc., 1997 WL 33173241 (Del.

Ch. May 13, 1997) (“The certificate of designations of the corporation … by statute is part of that

corporation’s charter…”) McRitchie v. Zuckerberg, 2024 WL 1874060, at *25 (Del. Ch. Apr. 30,

2024). Thus, by claiming that the Net Worth Sweep violated the implied covenant in their stock



13
   Defendants assert that “Delaware’s Supreme Court has noted [that] Delaware courts have
struggled to distinguish rights that are “personal” from those “in the security . . .” Mot. 52.
Defendants cite nothing for this meritless assertion.
14
  See also See I.A.T.S.E. Local No. One Pension Fund v. Gen. Elec. Co., 2016 WL 7100493, at *5
(Del. Ch., Dec. 6, 2016) (distinguishing between “personal” claims and “non-personal” claims
regarding securities); West Palm Beach Firefighters’ Pension Fund v. Moelis & Co., 310 A.3d 985,
1002-03 (Del. Ch. 2024) (claims that shareholder agreement violated Delaware law could be
brought by purchases of stock after agreement went into effect because the right to assert the claim
that agreement violated Delaware law passes with the shares from buyer to buyer); Colon v.
Bumble, Inc., 305 A.3d 352, 369 (Del. Ch. 2023) (“The claim that the right to vote was violated is
not an injury personally to the holder of the shares; it is an injury to the rights appurtenant to the
shares.”); In re AMC Ent. Holdings, Inc. Stockholder Litig., 299 A.3d 501, 532 (Del. Ch. 2023)
(“Rights attached to shares include statutory rights under the DGCL and the right to enforce a
claim for breach of fiduciary duty based on interference with the right to vote.”); In re Prodigy
Comm. Corp. Shareholders Litig., 2002 WL 1767543, at *4 (Del. Ch. July 26, 2002) (overruling
an objection from a shareholder who sold shares prior to the challenged deal, finding that where a
shareholder “sold his shares in the marketplace, the claim relating to the fairness of the then-
proposed transaction passed to his purchaser, who enjoyed the benefits of the settlement”).

                                                 45
          Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 55 of 65




certificates, Plaintiffs are claiming a corporate charter violation, and that claim runs with the

shares.

          Defendants try to resist this straightforward conclusion by arguing that Plaintiffs’ claims

are “personal” because “‘personal claims would include a contract claim for breach of an

agreement to purchase or sell shares or a tort claim for fraud in connection with the purchase or

sale of securities.’” ECF 423 at 52. But Plaintiffs’ claims do not arise from an “agreement to

purchase or sell shares” nor are they tort claims for fraud; instead, Plaintiffs assert that by

fundamentally changing the capital structure and eliminating any possibility of dividends to private

shareholders, the Net Worth Sweep violated the implied covenant in the Certificates of

Designation, the contracts that govern the rights inherent in those shares. While Defendants

contend that Plaintiffs’ claims “resemble” securities fraud claims, that reflects a fundamental

misconception, as shown above and as this Court has already held. Ex. B at 2449-2450. Securities

fraud claims are categorically distinct because the nature of the harm is the individual stockholder’s

actual or presumed reliance on fraudulent representation, which makes the harm personal in nature,

like any fraud claim. See, e.g., Activision, 124 A.3d at 1056. As this Court has ruled, the injury

here is the impairment to the stockholder rights caused by the Net Worth Sweep, and the decline

in share price is just the basis for a reasonable estimate for measuring that injury. Ex. B at 1830,

2449-2450. Plaintiffs’ claims are not securities fraud claims, or any other species of “personal”

claim. 15 Rather, they are quintessential claims to vindicate “rights that inhere in the security itself.”

Urdan, 244 A.3d at 677.



15
   For this reason, Defendants’ reliance on Independent Investor Protective League v. Saunders
(see Mot. 53) gets them nowhere. The claims at issue in that case were claims under federal
securities law, and, unlike the claims here concerning violations of the stock’s charter, “[t]hose
rights belong to the persons who have suffered injury.” 64 F.R.D. 564, 572 (E.D. Pa. 1974).


                                                   46
        Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 56 of 65




       Equally unavailing is Defendants’ suggestion that Plaintiffs’ claims must be “personal”

because the record does not contain evidence as to whether the market valued Plaintiffs’ claims in

the price of the stock. No Delaware case requires such evidence to establish that a claim travels

with the shares. Rather, courts have merely acknowledged that the market prices in the value of

claims about which it has notice. In re Resorts Int’l S’holders Litig., 1988 WL 92749, at (Del. Ch.

Sept. 7, 1988); see also In re Prodigy Commc’ns Corp. S’holders Litig., 2022 WL 1767543, at *4

(Del. Ch. July 26, 2002).

       Finally, Defendants say the plan of allocation somehow shows Plaintiffs’ claims to be

personal. ECF 423 at 54. The Court has already rejected that argument. ECF No. 420, at 8-10. It

correctly held that Defendants rely “on the faulty premise that class membership is a feature of the

share that may or may not be transferred to a successor in interest.” Id. at 9. Defendants ignore

that claims of corporate charter violations, such as claims that the Net Worth Sweep violated the

implied covenant in the shareholder certificates, travel with the shares automatically, by operation

of law (see above). Thus, no assignment is necessary.

         D.    Plaintiffs’ Implied Covenant Claims Against Freddie Mac Travel With The
               Shares Under Virginia Law.

       Like Section 8-302(a) of Title 6 of the Delaware Code, Section 8.8A-302 of Virginia’s

Code provides that “a purchaser of a certificated or uncertificated security acquires all rights in the

security that the transferor had or had power to transfer.” Va. Code Ann. § 8.8A-302. Plaintiffs

who did not hold their shares at the time of the Third Amendment thus acquired “all rights in the

security” that sellers of their shares had power to transfer. As this Court has recognized, under

Virginia law, “all rights in the security” “‘means rights in the security itself as opposed to personal

rights.’” MSJ Ruling, 2018 WL 4680197, at *8.

       Defendants attempt to escape that ruling by now arguing that the common law did not



                                                  47
        Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 57 of 65




permit the claims to transfer to a purchaser absent an express assignment, and that Virginia’s

Section 8.8A-302 does not override the common law. But Defendants fail to cite a single case

applying Virginia law holding that claims arising from a breach of the Certificate of Designation,

such as the implied covenant claims here, do not travel with the shares. Defendants’ lack of

authority is unsurprising, as Virginia courts look to Delaware for guidance on matters of corporate

law, and, as shown above, Delaware law is crystal clear that such claims travel with the shares.

See, e.g., Pagliara v. Federal Home Loan Mort. Corp., 203 F. Supp. 3d 678, 689 n.18 (E.D. Va.

2016) (“It is not uncommon for courts interpreting Virginia corporate law to look for guidance

from other courts, especially Delaware corporate law.”); Abella v. Universal Leaf Tobacco Co.

Inc., 546 F. Supp. 495 (E.D. Va. 1982) (“The Code of Virginia contains provisions substantially

the same as the Delaware provisions the [Delaware Supreme Court] in Zapata court construed”);

U.S. Inspect Inc. v. McGreevy, 2000 WL 33232337, at *4 (Va. Cir. Ct. Nov. 27, 2000) (“Here,

again, this court looks to the decisions of the Supreme Court of Delaware for guidance.”). The

one Virginia case Defendants do cite, Day v. MCC Acquisition, LC, 299 Va. 199, 208 (Va. 2020),

involved competing claims regarding title to certain corporate shares, not claims arising from

rights inherent in the shares, and is therefore inapposite.

       Relying on a case applying California law, Defendants say it would be “‘presumptuous’”

for this Court to “adopt a travels-with-the-shares interpretation” of Virginia law because it would

be “‘contrary to most every state’s own rule.’” Class ECF 423 at 50-51 (quoting Pacific Life Ins.

Co. v. BNY Mellon, 2022 WL 1446552 (S.D.N.Y. Feb. 22, 2022)). But Pacific Life analyzed the

applicability of a New York statute automatically transferring all damage claims associated with

a bond to the buyer of the bond, and held that such a law was no longer the prevailing rule for bond

sales in most states, and thus should not be extended. Pacific Life did not analyze a claim that




                                                  48
       Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 58 of 65




stock certificates had been permanently impaired by a fundamental restructuring of a company’s

capital structure. It therefore did not address the well-established Delaware law that such claims

inhere in the security, are not personal, and thus automatically travel with the shares.

         E.    Defendants Invoke Inapposite Case Law That Merely Shows That Personal
               Claims Are Not Automatically Assigned, Which Thus Does Nothing To
               Undermine This Court’s Prior Rulings.

       Citing cases from outside Delaware and Virginia, Defendants argue that the “majority

view” is that the sale of a security does not automatically assign to the transferee all of the claims

associated with the security held by the transferor. Class ECF 423 at 45-50. Obviously, the

authorities that matter are the Delaware and Virginia authorities cited above, not those from other

jurisdictions. 16 Moreover, none of Defendants’ cases address the proposition that certain kinds of

claims involving the fundamental relationship between the security and the corporation necessarily

inhere in the security itself, and thus automatically run with the shares. That is the proposition

articulated in Urdan and Activision. Urdan, 244 A.3d at 677; Activision, 124 A.3d at 1050.

Defendants cite no case casting doubt on those holdings or their reasoning, or refusing to apply

them in another state. The fundamental principle this Court applied is thus not at odds with any

authority Defendants cite.

       Defendants cite no case analyzing claims that a company’s capital restructuring, or its

decision to re-allocate profits to a certain shareholder, has fundamentally and permanently

impaired the rights inherent in its securities. Defendants’ case law is thus inapposite. Instead of

addressing the kind of claim at issue here, Defendants seek instead to support their assertion that



16
   Defendants’ own cases acknowledge that “[u]nder virtually all choice-of-law regimes, the
jurisdiction’s law that governs whether a cause of action exists will also be the jurisdiction that
decides whether that cause of action can be assigned.” DNAML Pty Limited v Apple Inc., 2015
WL 9077075, at *3 (S.D.N.Y. Dec. 16, 2015).


                                                 49
         Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 59 of 65




“the claims of former holders who sold at a loss after the Third Amendment were not automatically

transferred to the buyers.” Class ECF 423 at 45. That assertion reflects their fundamental

misconception about the nature of the claims here—i.e., they insist that the claimed injury here is

for the stock drop itself; but as this Court has repeatedly held, the injury here is the impairment of

the shares through the Net Worth Sweep, and the stock drop is just a reasonable measure of that

injury. 17

        Defendants persist in their distortion of the nature of the claim here by once again invoking

federal securities case law, arguing that it has rejected any “rule of automatic assignment.” Class

ECF 423 at 47-48. But the claim here is not a federal securities claim, and thus such case law is

irrelevant. Federal securities claims seek recovery for damages suffered by a stock price drop after

a misrepresentation is discovered. Defendants cite case law holding that the people who sold the

shares at a loss after the fraud is discovered should be the rightful owners of such a claim. But that

kind of claim is completely different from the claim in this case: here, the Net Worth Sweep

inflicted a permanent injury on the shares themselves by assigning 100% of all future profits to the

Treasury; the shares are impaired no matter who owns them, and thus the claims automatically run

with the shares. Urdan, 244 A.3d at 677; Activision, 124 A.3d at 1050.

        Likewise, Defendants cite case law holding that state common law fraud claims do not

automatically run with the shares. Class ECF 423 at 48-50. Again, this is not at odds with the

governing principle from Urdan and Activision. Those cases simultaneously hold that (a) claims

that inhere in a security, like claims of corporate charter violations, must automatically travel with


17
  Ex. B at 2449 (the Court explaining that “when someone buys a share in a company, they’re
purchasing a bundle of rights. And plaintiffs are arguing here that the net worth sweep removed
one of the most valuable sticks from that bundle. That’s a type of claim that travels with the shares,
so there’s not a proof problem that would justify a judgment as a matter of law. And there’s no
reason to decertify the class.”).


                                                 50
        Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 60 of 65




the shares and (b) that claims of securities fraud are “[q]uintessential examples of personal claims”

that do not automatically travel with the shares. Urdan 244 A.3d at 677 (quoting Activision, 124

A.3d at 1056). Again, no case casts doubt on that analysis.

        To the contrary, the case Defendants seem to rely on the most, Cheatham IRA v. Huntington

National Bank, 137 N.E.3d 45 (Ohio 2019), cites Activision without any negative comment.

Cheatham involved the question of whether, under Ohio law, claims arising from the breach of

bond indenture agreements are personal to the holder or instead automatically travel with the sale

of those agreements. Id. at 54-55. The court acknowledged the Delaware Supreme Court’s holding

in Activision, noting that “Activision addressed corporate stock and ‘the causes of action conferred

on stockholders by specific statutory provisions of the [Delaware General Corporation Law].’” Id.

at 56 (quoting Activision, 124 A.3d at 1049). Immediately after the language Cheatham quoted,

the Delaware Supreme Court explained: “Direct claims also include causes of action to enforce

contract rights that stockholders possess under the corporation’s certificate of incorporation and

bylaws, recognizing that the DGCL forms a part of every Delaware corporation’s charter.”

Activision, 124 A.3d at 1049 (footnotes omitted). And in the very next paragraph: “When a share

of stock is sold, the property rights associated with the shares, including any claim for breach of

those rights and the ability to benefit from any recovery or other remedy, travel with the shares.”

Id. at 1050 (footnote omitted). Cheatham said nothing to cast doubt on this portion of Activision,

either directly or indirectly. Defendants make no effort to show that its holding would be different

in Delaware. Further, even if Ohio would reach a different result than Delaware or Virginia, that

is not relevant here. 18



18
  Defendants also cite cases involving the validity of purported assignments of statutory claims,
none of which are analogous to the claims that inhere in the securities here. Class ECF 423 at 45-



                                                 51
        Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 61 of 65




         F.     Defendants Have Waived The Right To Challenge The Class Definitions, And
                Are Also Estopped From Doing So.

              1.    Defendants Agreed To The Class Definitions.

        On August 12, 2021, Plaintiffs filed their motion for class certification under Rule 23(b)(1),

(2), and (3). Class ECF No. 132; Class ECF No. 132-1. Thereafter, in order “to streamline and

make efficient use of the Parties’ and the Court’s resources,” Plaintiffs and Defendants conferred

regarding class certification and agreed, subject to approval of the Court, to stipulate to

certification of classes under Rules 23(a) and (b)(3). 19         After reviewing the parties’ class

certification stipulation, the Court expressed doubts about the procedural propriety of the parties’

proposal to withdraw Plaintiffs’ motion for class certification and enter the stipulated order. See

Order, Class ECF 134. The parties filed a joint response, asking the Court to construe Plaintiffs’

motion for class certification as still pending and uncontested to the extent that it requested

certification under Rule 23(b)(3). See Joint Response to Court Order of November 15, 2021, Class

ECF 135.

        Thereafter, on December 7, 2021, the Court issued (i) a memorandum opinion containing

a “rigorous analysis” of the factual bases for class certification, and (ii) an order granting Plaintiffs’




46 (citing US Fax Law Center Inc v. iHire, Inc., 476 F.3d 1112, 1120 (10th Cir. 2007) (addressing
assignability of claims under the Telephone Consumer Protection Act of 1991 under Colorado
law), Beach TV Properties, Inc. v. Solomon, 2016 WL 6068806, at *17 (D.D.C. Oct. 14, 2016)
(concerning invalid written assignment of legal malpractice claim); DNAML Pty Limited, 2015
WL 9077075 (whether a written asset purchase agreement sufficiently assigned the right to bring
a private antitrust claim under the Clayton Act)). They also cite Herr v. United States Forest
Service, 803 F.3d 809, 819-821 (6th Cir. 2015) which addressed whether purchasers of real
property had succeeded to a right of action that arose under federal when it was owned by previous
owners..
19
   Stipulation for Class Certification, Class ECF 133. Plaintiffs agreed to proceed with class
certification only under F.R.C.P. 23(b)(3) because Defendants’ consent was limited to that
subsection, but Plaintiffs never conceded that certification under F.R.C.P 23(b)(1) and/or (2) was
inappropriate.


                                                   52
       Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 62 of 65




motion for class certification under Rule 23(a) and 23(b)(3) and certifying the Classes. Class ECF

138; Class ECF 139. Under each of the definitions of the “Fannie Preferred Class,” the “Freddie

Preferred Class,” and the “Freddie Common Class,” a person can be a class member if: (i) “they

held the relevant share on the date of certification,” or (ii) “if they are a successor in interest to

such a person and hold a share after certification but before final judgment.” Memorandum and

Order, Class ECF 420 at 8.

       By agreeing to these Class definitions, Defendants waived any right to argue, as they seek

to do now, that “all Plaintiffs who bought shares after the Third Amendment lack standing to

pursue claims with respect to those shares because they suffered no injury from the share-price

drop.” Class ECF 423 at 44. They knowingly relinquished that argument when they agreed not

to oppose Plaintiffs’ Motion for Class Certification, which made clear that as a matter of Delaware

and Virginia law, stockholders’ implied covenant claims “ran with the shares.” Class ECF 132.1

at 9. If Defendants believed that was incorrect as a matter of Delaware and Virginia law, as they

purport to argue now, they could and should have opposed certification on such grounds then.

Instead, they knowingly relinquished their right to oppose certification of those classes, thus

waiving their ability to do so now. See e.g., Missouri Dep’t of Social Servs. v. United States Dep’t

of Health & Human Servs., 2019 WL 4709685, at *3 (D.D.C. Sept. 26, 2019) (“waiver . . . is the

intentional relinquishment or abandonment of a known right [and] [w]hile courts may exercise

their discretion in exceptional circumstances to consider forfeited arguments, they may not review

arguments that have been waived.”); Keepseagle v. Perdue, 856 F.3d 1039, 1051-53 (D.C. Cir.

2017) (claimant waived right to contest Class settlement agreement by failing to object to the

provision the claimant later challenged).




                                                 53
        Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 63 of 65




              2.    It Would Be Unfairly Prejudicial To Allow Defendants To Challenge The
                    Classes At This Late Stage.

        Defendants are also estopped from abandoning their earlier agreement to the Class

definitions. E.g., New Hampshire v. Maine, 532 U.S. 742, 750 (2001) (The purpose of judicial

estoppel is to “protect the integrity of the judicial process ... by prohibiting parties from deliberately

changing positions according to the exigencies of the moment.”); Konstantinidis v. Chen, 626 F.2d

933, 937 (D.C. Cir. 1980); Walker v. England, 590 F. Supp. 2d 113, 136 (D.D.C. 2008) (applying

judicial estoppel doctrine to bar new position that contradicts prior one where “Defendant’s

shifting positions would also have wasted party resources . . . and judicial resources”).

        Defendants’ effort to abandon their agreement to the Class definitions threatens the orderly

administration of litigation and the effective delivery of justice. In Def. of Animals v. United States

Dep’t of Agric., 589 F. Supp. 2d 41, 43 (D.D.C. 2008). It also prejudices Plaintiffs. Plaintiffs

abandoned their arguments for certification of the Classes under Rule 23(b)(1) and (2) in reliance

on Defendants’ consent to certification under Rule 23(b)(3). Plaintiffs and the Court have also

expended significant time and resources, litigating two trials and various pre- and post-trial

proceedings, and providing notice to thousands of thousands of potential Class members, with the

understanding that the Class definitions were properly certified. 20


20
   Defendants’ argument that the Court’s Class Certification Order pursuant to F.R.C.P. 23(b)(3)
“reinforces” that the claims are personal under Delaware law is utterly false. See Rule 50(b) Mot.
at 53. Whether the certification order gave class members the right to opt out has no effect on
whether the claim travels with the shares because opt out rights are a matter of federal procedural
law, not state substantive law. E.g., Boelter v. Hearst Commc’ns, Inc., 192 F. Supp. 3d 427, 443
(S.D.N.Y. 2016) (citing Shady Grove Orthopedic Assocs., P.A. v. Allstate Ins. Co., 559 U.S. 393
(2010)) (noting that “Rule 23—the rule that would govern the adjudication of Plaintiffs’ class
claims—is procedural”). Nor can the fact that the Court ordered certification under Rule 23(b)(3)
alter that Plaintiffs’ claims travel with the shares under Delaware law, because a federal procedural
law cannot “govern a particular case in which the rule would displace a state law that is procedural
in the ordinary use of the term but is so intertwined with a state right or remedy that it functions to
define the scope of the state-created right.” Id.


                                                   54
       Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 64 of 65




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       Finally, even if the Court were somehow inclined to overlook all of the foregoing defects

in Defendants’ attack on the Class definitions, there is no basis for setting aside the judgment,

since the jury clearly found for Plaintiffs on both liability and damages, and clearly had sufficient

evidence to reasonably do so.

                                          CONCLUSION

       For the foregoing reasons, the Court should deny the Rule 50(b) motion.

Dated: June 7, 2024                                Respectfully submitted,

 /s/ Charles J. Cooper                             /s/ Eric L. Zagar
 Charles J. Cooper (Bar No. 24870)                 Eric L. Zagar (Pro Hac Vice)
 David H. Thompson (Bar No. 450503)                KESSLER TOPAZ
 Vincent J. Colatriano (Bar No. 429562)              MELTZER & CHECK, LLP
 Peter A. Patterson (Bar No. 998668)               280 King of Prussia Rd.
 Brian W. Barnes (Pro Hac Vice)                    Radnor, PA 19087
 COOPER & KIRK, PLLC                               Tel: (610) 667-7706
 1523 New Hampshire Avenue, N.W.                   Fax: (610) 667-7056
 Washington, DC 20036                              ezagar@ktmc.com
 Tel: (202) 220-9600                               Hamish P.M. Hume (Bar No. 449914)
 Fax: (202) 220-9601                               Samuel C. Kaplan (Bar No. 463350)
 ccooper@cooperkirk.com                            BOIES SCHILLER FLEXNER LLP
                                                   1401 New York Ave. NW
 Counsel for Berkley Plaintiffs, et al.            Washington, DC 20005
                                                   Tel: (202) 237-2727
                                                   Fax: (202) 237-6131
                                                   hhume@bsfllp.com
                                                   skaplan@bsfllp.com
                                                   Michael J. Barry (Pro Hac Vice)
                                                   GRANT & EISENHOFER, P.A.
                                                   123 Justison Street
                                                   Wilmington, DE 19801
                                                   Tel: (302) 622-7000
                                                   Fax: (302) 622-7100
                                                   mbarry@gelaw.com
                                                   Adam Wierzbowski (Pro Hac Vice)
                                                   BERNSTEIN LITOWITZ BERGER
                                                     & GROSSMANN LLP
                                                   1251 Avenue of the Americas


                                                 55
Case 1:13-cv-01053-RCL Document 435 Filed 06/07/24 Page 65 of 65




                                New York, NY 10020
                                Tel: (212) 554-1400
                                Fax: (212) 554-1444
                                adam@blbglaw.com
                                Co-Lead Counsel for the Class




                               56
